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i'   \




           IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                                                                         FILED
                                                                                        SEP 14 2017
                                                                                      U.S. COURT OF
     SCOTT GOODSELL,                               )
                                                                                     FEDERAL CLAIMS
                                                   )
                    Plaintiff                      )
     VS                                            )
                                                   )
     THE UNITED STATES OF AMERICA,                 )       Case No. 17-171C
                                                   )       Judge: Hon. Robert H. Hodges, Jr
                    Defendant                      )
                                                   )



                                DECLARATION OF SCOTT GOODSELL
                        (San Jose Veterans Center Lease No. VA261-13-L-0027)


            l, Scott Goodsell, say:

            1.      I   am Plaintiff in this action. I submit this declaration in compliance with

     this Court's September 11,2017 Order. lf called as a witness, I would competently

     testify as follows:

            2.      Attached hereto as Exhibit A is a true and correct copy of the May 14,

     2014 email which I received from Contracting Officer John Paul Niega with "the fully

     executed lease" for my records, together with the attachment designated C01-SJVC

     Lease-Signed.pdf. The additional documents referenced in Lease sec. 1.07 were not

     attached to the signed Lease received.

            3.      Attached hereto as Exhibit 1 is a true and correct copy of Lease

     Amendment P0001.


                                                                                     Receiveo - USCF(
                                                       l

                                                                                       SEP 14 p17
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      4.       Attached hereto as Exhibit 2 is a true and correct copy of Lease

Amendment P0002.

      5.       Attached hereto as Exhibit 3 is a true and correct copy of Lease

Amendment P0003.

      6.       Attached hereto as Exhibit 4 is a true and correct copy of Lease

Ame ndment P0004.

      7.       Attached hereto as Exhibit 5 is a true and correct copy of Lease

Amendment P0005. Defendant VA did not execute this Lease Amendment.



      I   declare under penalty of perjury that the foregoing is true and correct. This

declaration was executed on September 13,2017, at San Jose, California.



                                                              ?'r
                                                         Goodsell
                                                  440 N. First Street, Suite 100
                                                  San Jose, California 951 12
                                                  tel. (408) 295-9555
                                                  fax (408) 295-6606




                                              1
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     Scott Goodsell

     From:             "Niega, John Paul O. VHAREN" <JohnPaul.Niega@va.gov>
     Date:             Wednesday, May 14, 2014 7:40 PM
     To:               "Scott Goodsell" <sgoodsell@campeaulaw.com>
     Attach:           C0l-SJVC Lease- Signed.pdf
     Su bj    ect;     Re: SJ Vet Center- Signed Lease

HiScott,

Attached please find the fully executed lease for your records. Let me know if you have any q's

Tha      n   ks,


JP
John Paul Niega, MBA
Contract Specialist
Department of Veteran Affairs, NCO 21
975 Kirman Avenue
Reno, NV 89502
O | 17 5      .185 .1 1,58
Ci   775.335.6430
E:   lohnpaul.niega@va.gov

Mission        Lead the acqulsition enterprise   to contracting excellence
Visiof  Reshape the acquisition function to support our customers through the effective and innovative use of contracting policy, procedures, and
proceSses
Goals "lntegrity, Commltment, Advocacy, Respect, and Excellence (ICARE)- these are our goals"
NTEGR|ry, COMMITMENT, ADVOCACY, RESPECT, AND EXCELLENCE these are our goals." As our client, please take a few moments and et us know how
we drd bv , omplel'ng I hF dl ld, h"d 5!8141



From: Scott Goodsell Imailto:sgoodsell@campeaulaw.com]
Sent: lvlonday, May 72,7014 8:46 AM
To: Niega, John Paul O. VHAREN
Subject: IEXTERNAL] Re: Sl Vet Center- Lessor Account Payment Set Up

     I   will get that started.

     Have you sent me a VA-signed copy of the final Lease? Not received yet


From: Nieqa, lohn Paul O. VHAREN
Sent: Sunday, May 77, 2014 li24 PM
To: sqoodsell@camDeaulaw.com
Cc: Brozvna, Jerz y lvl
Subject: Sl Vet Center- Lessor Account Payment Set Up

Hi Scott,


I   would to start the process in Betting the Lessor entity set up as a payee in the VA Austin Payment Center
system.


As of Ja n ua ry 28th , 2013, the VA has transitioned over                   to a n electron ic invoicing system. Attached a re



                                                                                                                                          9t12t2017
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documents that will assist you in setting up your account along with some FAQs. I would su8gest setting up your
account before build out is complete to avoid delays in payment. As we get closer to build out completion, I will
give you further instructions on the invoicing process to ensure that you get paid quickly.

Please also note that the VA Austin Payment Center is separate from the local VA, so there may be some
instances where you may have to contact them directly if payment issues cannot be resolved at the local level

Let me know if you have any further questions at this point.


Tha   n   ks,




JP
John Paul Niega, MBA
Contract Specialist
Network Contracting Office 21(NCO 21)
975 Kirman Avenue
Reno, NV 89502
P:775.185.7158
Ft775.1a4.1964
C: 775.335.6430
E: lohnpau l.niega @va.gov


lNTEGRlry, COMMITMENT, ADVOCACY, RESPECT, AND EXCELLENCE - these are our goals." As our client,
please take a few moments and let us know how we did by completing the attached SURVEY.




                                                                                                      9t1212011
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                                                                                                                                     Simptafied Lease
 LEASE NO. VA261-13 -L-0027                                                                                            GSA FORM L2O1A loctober 20121

 Ihis l.ease   s made and entered n1o belween




(Lessor). whose pnicipalplace ofbusiness acdress is 4.10 N 1'' St. S\ritc. 100. Sar Josc. CA -65112 andwhose rnterest in the Properiy descnbed
herein E that o, Fee Owner and

The Uniled Statos ofAmerica

(Goverrmenf ). acling by and through the desig.ated representative ol lhe General S,)vices Adm'nistration (GSA), upon the terms and cofiditions sel
forlh herein

lv[nessolh: Ihe panies hereto, ior lhe consideralion hereinafler menlioneo. covenant and agree         as fotlows:

I essor hereby leases to {he Government        lhe Premises described herein. being all or a lorlron oi lhe Propely lacaled al

4rg! .l*Sr.    Sa,, Jose. CA 9511?

and more fully described in S€ction   l,   logelher v/ith nghls lo ihe use of parkrng and other areas as sel lorth herein. lo be used for such purposes as
delernrined by GSA

LEASE TERM

fo   Have and To Hold lhe said Paemises wilh their appu.lenances for the lerm beginning upon acceptance of the P,enrises as required by lhrs Lease
and conlinuirB Jo. a penod   ol



suq€d 10 lermnaton and renewal righls as may be hereinafrer set forlh Th€ commen@rnenl dale oflh6 Lease,.stimated to bc Octobor 1.20r4,
along wlh any applicab,e teminalron and renewal ighls, shall be more srecircally be sel lonh jn a Leas€ Amendment upon subslanlia, complelron
and ac.eptaoce oflhe Space by the Goverrmenl.

n Y,Il.ress tryhereot, lhe panres to lhis Lease evidence the r agreemenl lo all terms ord condilions sel lorth herei. by their s goalures be ovr. to be
eiiectve as of lh€ date ofde ivery olthe fully erecuted Lease to the Lessor

FOR IHE LESSOR:                                                                   FOR THE GOVERN                Nr;



Name                          l).-t                                               Royce Ng

frle:                                                                            Conlracting oliice:

Inti]y Nam€                                                                       Depanmeni ol veleran Atfaks, NCO 21


Crte                   >    Aiuii         i+                                     aale


        ESSED FO                  SSOR BY



               '//*.
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0atel                  /:             O
            ion colieciron requiremenb conbined n Ulrs So i&a|on/ContBcl thal arc nol rcquired by lhe regulalion have been approved by l;l€
O{lEe of Managemcnt and Budgel pursuart lo the Papeawork Reduclion AcL and assiOn?d lhc Ol,,l8 Control No. 3090-0163




                                                       ,rt"o*,
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SECTION       1      THE PREMISES, RENT, AND O]HER IERMS


1.01      THE PREMTSES {JUN 20,12}

 Ihe Premises   are described as follows

A.        q[LqC4!89]Ae!j9p4e:            3.730 rentable square feel (RSF). yieldir€ 3.730 ANSI/BOMA Ofiice Area (ABOA) squa.e ieel (SF) of office and
relaled Space iocaled on tl-.e 1st   ioo(s) as depicled on the fioor plan(s) atached herctc as Exhib't B

B       Common Area Faclor The Common A.ea Faclor (CAF) is established as 0.00 percent. This lactor, wh:ch represenls lhe conversion ftor.
ABOA to rentable square teet. roLrnded to lhe nearest whole perceatage. shall be !sec, foa puaposes ol rental adjushenE in accordance wi$ the
Paynrcnt Crause of the Geoeral Clauses

1.02      EXPRESS APPURTENANT RTGHTS 1JUN 2012)

lhe Govemmenl shallhal/e lhe non-exclusrve nght lo U1e use otAppurlonanl Areas, a d shallhave th€,iqhl lo post Rules and Regulalions Governiig
Conduct on Federal Properly. Till€ 41 CFR. Parl 102-74, Subpart C wilhin slch ereas The Governm€nl will coordinete wilh Lesscr lo eosure
s gnage is consistenlwrlir L€ssor's slandards Appurtonantlo the Pr€miseE and included inthe Leaseare righls lo usetho followingl

A.       8!Bi!S ?4 pa*jng spaces as depicled on lhe plan atla.hed herelo as Exhibit c, partially reserved:or lhe exc,usive use ofthe Gover.menl.
olwniah:4 shallbe su.face/oulside pa*ing spaces In addition, the Lessorshall provide such addaional pad(ing spaces as req!ired bythe applrcable
code ollhe local govern,nenl enlily having jurisdiction overrhe P.operty

1.03      RENTAL CONSTOERATTON FoR                 9   pLlFrED LEAS€S
                                                                      {JUN 2012)

h consideraton for the Leas6, lhe Orant o[ all assoclated nghls express or implied, and lhe pe.fo.mance or salrs,aclion o, all ol the Lessor's oiher
obligairons set lonh herein lhe Govemmenl shall pay the Lessor annual rent lo be conpuled below and tre actualANSI EOMA Office Area (ABCA)
dehvered for occupancy and use by the Govemment, nol io exceed the merimum ABOA solicited by the Govemmenl. Paymsnl shsll bc made
rironlhly in arrears Rent lor a lesser period shall be p,oraled. Reol ghall be pald by Electroric Funds Transter to an accounl to be desjgnaled by
Lessor Rent shall be inclusava cl all costs incured ty the iessor lor thc conslrudron of Euilding shell specilied in lhe Lease, incllding those
described on axhibit A. GSA Form 1364C and the Agency Speciric Requiremonts (ASFr) atlaahed heaeto, all taxes of any kind, and all operating costs
J niess a sepaGte .ale is speciJied on Ex h,bil A GSA Form 1 364C. rig hts to parking areas will be deemed included in the rent.

                                       l4onthly          Annxal            Annual           Ioial   nlonlhly    Total annoal
                                                                           Part ng
                                         Rcnt             Rcnl
                                                             Stlr.harsc                         Reol                Rcnl
                         Yc.r1        57.460.00 58S.520.00   56.600 00                        58.010.00          S95.120.00
                        Year ?        5;.450.00 S89.s20 00   35.600 00                        58,010 00          S96.t20.00
                        Ycar 3        57.160.00 589.520.00 S6.50C.C0                          S8,010.0C          596,120.00
                        Yearr         37,160.00 S89.s20-00 56,600.00                          S8,010.00          596,12000
                        vcar 5        57,450.00 s89.5?0 00   56.600.00                        58,010.00          595.120-00
                        Yaars         58.95?.00 5107,424.00 57 9?0.00                         59,612.00         5115 344.00
                        Ycar 7        58,952.00 5107,.124.00 57,920.00                        59.61?.00         S115,344.00
                        Ycar6         58.952-00 S107,.i24.00 57.920.C0                        59.612-00         3115.344.00
                        Yeat9         58.952.00 5107.424.00 57.9:0.00                         59.612.00         5115,344.00
                        Ycar10        Se.9S2.00 9107.;r?4.00 57.920.00                        59,612.00         5115.34400
                                                                                                     Toral     31 057 320.00
                                                                                             Lunp Sum Tl        5274,740 00

1.M       INTE}'ITIONALLYDELETEO

1.05      TERI.IINA'TION RIGHTS       (SI      PLIFIED)(JUN 2012}

Nolw(hstandr.g anylhing to lhe conlrary conlained in this Lease Solicjtalion. afler completion ol Yea.5 of this lease term. lhe Governmer-'t may
termrnate this Lease, jn \,thole or in part ai any lime by gMng at least 90 days wrrtlen rolrce lo the Lessor The effed&e dale of such terminalion shall
be the frrst ca,endar day occurflng after such 90 days. lf:h6 conlracl rs lerminated, the Government shall be lable only lor renl paymects due and
o,/vr^g to lhe Lessor p.ior to, but nol includinq. the effeclive d3te of terminalion, and sny unpaid tenant improvement cosls idenlifed ia the lease.

1.06      II{TENTIONALLYDELETED
,1.07     DOCUMENTS INCORPORAIED ItI THE LEASE (SIMPLIFIED} (SEP 2012)

lhe followmg doalmenls    are as atlached to and made parl of the Lease




rFASF NO VA?61-13-L-0027. PAGE             I           LEssoR5V-       GovERNMENT:,        [1$j                 GSA FORM L201A (r0h2)
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                                                              DOCUI\IENT NAI\!9                             ExHlalr
                                              rcsonlalio|s and cedrliratiors GSA Forr 3518
                                         Dcsi                     .nrJ   ti.al   As Euilr Cr.i{,              ?
                                                                                                              a
                                                                                                              D


1.08        INTEI'/TIONALLYOELETEO

1.09        II{TENTIONALLYOELETED

1.10        AOOITIONAL aUlLDll{G III,IPROVEMENTS (SEP 2012}

The Lessor shal comple{e lh€ lollowing eddilional Buildirq improv€ments priorto acceptiance ol the Space.

            Conrpiretrce wilh Scishic S.fcty Si3ndards (Pa..9raph 4.09)
       E,   Conrpliartcc wilh FirolLi{o Saloty St.:^dards tPa.agraphs 3.11 and 3.121
       c    Complianco wilh Accossib.laty Roquiromcnts lParag.apt 3.17)

1.11        INTENTIONALLY DELETEO




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    SECTION           2      GENERAL TERMS. CONDITIONS AND STANDARDS


    2-O1         DEFIii'TIO'.IS AND GENERAL TERI'IS (JUN 2012}

    unless otleMise specilically noled, alr lerms and condillons sel fcrlh in this Lease shall be iderpreted by reference 10 lhe lolowing defnitions
    slandaads.    a   d formulas

 A         Aoourlenanl A.eas Appunenanl Areas are de,ned as lhose areas and laclilies on lhe Property lhat are not located within the Premises,
 bul lor wnich rights are expaessly gaanted under this Lease. or for wh;ch rjghts lo Llse are reasonably necessary or reasonabty anticlpaled with respec.
 lo lie Govemmei:fs enjoymenl oflhe Pre,iises and Express Applrtenairt Righls.

 ts              II]TEIiTIONALLY D

 C               6uildin! Ihe building{s)   silualed on lhe Properly m which the Piemrsgs are locatcd shall be refer.ed 10 as the Building(s)

 )               NTENf CIiA LLY L]ELE IEO

 E.        Common Area Faclor ICAFI. The Common Area Faclor (CAF) rs a conveG on flclor d6l6rmined by lhe Building owner and applied by the
 o',vner to the ABOA SF to delermine the RSF lor lhe leased Space. The  CAi rs exlessed as a percentage of the drfference belween lhe amolnl ol
renlabie SF and ASOA SF. drvrded by the AEOA SF. For example 11,500RSF and 10.000 A3OA SF will have aCAFofl5%l(11,500RSF,10.00C
AEOA SF),10.000 ABCA               Sfl
                                 For the purposes oflhis Lease, theCAF shall be delermined in accordance with the appljcable ANSUBOIUA staodard
for the type olSpace lo vrhich lhe CAI shalt appty.

I                Contaacl. Coniracl and con:raclor means Lease aM Lessor. respeclively

G            q!I!.        Allre{erences lo -day-or ''days'in this:ease shallmean calendardays. unless specified otherwise

H            FARIGSAR. All refe@nces to the FAR sha:l be lnderslood to mean ihe Fedeml Acqusilion Regulalion, codifred al 48 CFR Chapler                     1     All
reierences to  ne GSAR shall be underslood to mean lhe GSA supplehent to the FAR codified al 48 cFR chapler 5.

I            EtLTerm/Non-f]lF TeIn]. the          Frrm Term is lhal part   otlhe Lease term thal   is not subleclto temanalion   nghls The Non-Finx Term is thal
narl oflhe Lease lerm folowing lhe end ollhe Film Term.

             lease'lerrn Cornmencement f)a1e. The LeaseTer.n Cornmencernenl Date r,reans the dale or                1,{hich the Lease   l€lln commonces

K.        Lease Award Da1e. The Lease Award Date means the daG                   fiat the Lease is executed by lhe LCO (and on which the pa.tres' obtigations
under the Lease begin)
                     -lhe
L        Premises          Premrscs are delined as the total Oiice Aaea or olher type o: Space, lcgether with ail assooaled clmmon areas, descnbed
in Seclon I oi th;s Lease. and Cehneated by plan in the attachod Exhrbit Parhng and olirer areas tc v/hich lhe Govemmenl has righls lnder this
Lease are nor rncllded in the Premises.

IU        Prooeftr. The P.operly rs denned as lhe lafld 3nd Eurbings in which lhe Premises €ae locat6d, includ;ng all Appudenalx Areas (eg
parking areas) lo v/hich lhe Govemr.enl is granled ghts.

ll           Re       able space or Renlabra   sqlare Feet IRSF] Rentable Space is lhe area for which a ler,ani is charged rent. ll rs detemrned by lhe
Bu lding owner and may vary by clly or by buildlng wrthin the same crty. The Renlabkr Space may include a share of Building suppo(/common areas
such as elevalcr lobbies, Building corridors, and lloor seMce areas- Floor service areas typically include reslrooms. janitor rooms. telephone closets
elecldcal dosels and meGhanical rooms The Rentabie Space does nct include !€rical Building penetralions and lheir enclosing walls, sucfr a!
srairs. elev?lor shafls, and ve.lical ducts. Rentable Square Feet is calculated usrng lhe following lormula for each lype of Spa.e (e9 office.
vrareholse. elc.) ;ncludec in lhe PremEes ABOA SF ofSpace x (1 r CAF)- RSF.

O            S-eaqg- The Space shall refer to thal parl ct the Premises 1o whicl ihe Government has exclusive          use such    a5 Oltice Area. or olher lype   cf
Sgaae Parking areas      to which the Government has righls lnderthis Lease ere nol included in lhe Space.

P         06rce Area For lhe purposes ol lhis Lease. Space shall be measured in accordancg rlith lhe standard (265.1-1996) providcd by American
National Standards lnslitute/8ujlding Owners and Managers Association (ANSI/BO|!]A) for Ofice Arca. which means "lhe area wf,ere a ienaol
rormallvhoEesoersonneland/orlurnilure.lorwhichameasuremenristobecomouted'RelerencesloABOAmeanANSliBOi,lAOf,lceArea

C            Wo.krno       Davs       Workino Days shall mean weekdays. exclodrng Satudays and Sundays and Federal holidays

2.02         AUTHORTZED REPRESENTATTVES {JUN 2012)

The signalories to lhis Lease shall have full auihorily to bind their respective princrpnls $/ilh regard to all matters relating to thrs -ease No olher
persons shal be underslood lo have any authorily to bind lhcla rcspective prinopals excepl lo the exlent tial such aLtlhority may be exphcrlly
dclegatea by notice to lhe other pady, or lolhe exlent lllal such authority is lransferred by successioa ot ioleresl. The Governmenl shallhavethe rigtl
io subslrtule its Lease Conlracltng Otf'cer (LCO) by nolice withoul an express delegelio by tiE p.ior LCO.




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 2,03      ALTERATIONS REQUESTED BY THE GOVERNMENT (JUN 2012)

      I he G oven'rnenl may reques t lhe Lessor io prcvid e a lleralions d rnng lhc lerm 01 t he Lea se Alleral ons v/ill b e ordered by iss uance oi a Lease
      Amendmenl. GSA Forn 300. Order for Supplies or Services, or a lenant agency-approved fonjr !./hen specillcatty aLrrhorized to do so ty ihe
      Lease Conlractins Officer. lhe GSAi,4 clause. 552 270-31 Promgl Paynenl. includint rts invoice requ rements, shall apply to orders for
      alleratlons. Allorders a.e sublecllo lhe terms and condilions oi lhis -ease

 B   Orders {or lenanl lmprovements $150 000 or less may be placed by the LCO o, a warranted contracting oflicels representative in GSA or he
     tenant age.cy wilen speofically aurhorized to do so by lne Lease contracting officer. This lhreshotd wi change accoding to future adjuslments
     of the simplified acq uisitio n lhte shold {see FAR 2. 1 01 ) The LCO wrll provide the Lessor wilh e lisl o, ten ant agency olficials authodzed to ptace
     orders and will spccify any limilalrons on lhe aulhonty delegaled 1o tenant ag€ncy oflicjals. The tenanl agenc-y olliciats are not autioized lo deat
     wrlh lhe Lesso. on any olher mallers

C    Payments for anerations ordered by the tenant agency u.der lhe authonzation described in pa.agragh B. witl be made directty by the tenanl
     ag.rrcy Placln3 the orde..

2.04       WATVER OF RESTORATION (ApR            20tl)
The Lessor shall have no right lo rcquirc lhe Governmenl lo aeslore lhe Premrses upon termjnation of ihe Lease, and waives all clairqs against lhc
Governmenl for r.rasle, damrges. ol restoiation arisinq taom or relaled to (a) the Gov: nments normal and cuslomary use of lhe Premises d!ring the
terrr ollhe Lease (;ncudtrg any extensions thereo0. aswell as {b) any rn tra or subsequ€nl a,t€ralion to the Prem'ses regardless ofwhether srch
alleratrons are periorfied by ihe Lessor or by ihe Governnenl. Al ils sole oplion, lhe Governrnent may abardon prope(y ln the Space following
exp,raiion of the Lease. if wfich case lhe property vvl; become th-p prcpeq of lhe l-essor, and ihe Governmenl will be releved ot any Jlabirly i.
conneclion lhe.ewilh

2,05       INTENTIONALLYDELETED

2.06       CHANGE OF OWNERSHIP (JUN 2012)

A         ll during the lenn of lhe Lease. lille to lhe PBperty rs lransfered. lhe Lease is assigned or lhe Lessor charEes rls legai narne. the Lessor
and ils successor shall comply wrth lhe requirements of FAR Subpail 42.12. tl trtle ts transfered. lhe Lessor shall nolify the Gove.nmeni within tive
days otihe lransrer ot lille.

B          The Govemm€nt and the Lsssor may execlte a Change of Name Agreement il the Lessor rs changing only its legal nanle. and the
Governnrenl's and the Lesso/s respective righls ard obligations rcmain unaffected.      AsampleformisfoundalFAR42.l20S.

C        11 lille lo lhe Properly is tranaferred. or the Leas€ is assignod, thg Goveromenl, the original Lessor (Transferoo, and the new owner or

ass€nee (Traflsferee) shall execute a Novalion Agreemenl prov:dng for lhe laansfer of Transfero/s rights and obligations undea lhe L6ase 1o lhe
rrans{eree When execut€d cn hhaif ofthe Governmenl, a Novaton Agreemeat wiltbe made paat oflhe Lease via Amendmeol

Il          ln addition to 3ll doclmenls required by FAR 42.1204. the LCO nray requ:st addilional nlo.maton (6.9.. copy cf the deed bill of sale.
cerlillc.t€ of merge., ccnlracl, courl decree. artrcles of incorporaiion, operalion agrecm€nl. parlnership cedficalc of good slanding, etc ) from the
Transleror or Transferee to verify the pa(ies' represenlatons regarding lhe lransfer. and lo deteamine whether lhe transfea of the Lease is jn ihe
Governmenl's inlerest

t          lf lhe LCO detell'lrnes lhal recosnizing lhe Transieree as lhe Lessor is nct rn lhe Go!€rnmenfs interest. lhe Transferor shall remarn fuily
|able to the Govemment for lhe Transferee's perio.mance ol obligations !nder lhe Lease. nofuifhstanding the ransler tinder no concilion shall lhe
Goverofienl be obligaled lo release the Trarsteror of obllgatons prjor lo {a) the renl cofimencement date, and (b) any amounls due and owing lo fie
Govemmenl underlhe Lease have been paid in tLrll or completely sel offagainsl lhe rentalpayments due unde. the Lea6e.
F          As a condilron for being recognired as lhe Lesror and entjllemeot to receiving renl, lhe Transleree musl compleie a Cenlral Cc lractor
Reqistral,on (CCR) (See FAR 52.232-33) and complete and sign GSA Form 3518A Reprcsefitalions and Cerlificalions

G          ll tille to lhe Propeny is lransterred. or ll"a Lease is assigned. renl 6hel coniinug   10 accrue.   subjecl !o the Governments dghls as provrded
fo. in lhis Lease However. lhe Govemmonts obligation lo pay rent to lhe Transferee shall be suspended unlrl lhe Cove.nment has receiled all
rnformatron reasonably required by lhe LCO under sub-paragraph- D, the Governrnent has determined lh6t recognEing lhe Transieree as the Lessor
is in lhe Oovemmenfs interest (which delermrnalion vJill be prompt and nol unreasonahly withheld). and lhe Transferee has mel all condllions
speqfied   rn suEparag.aph  F So long as aoy delays ;n eliecting the recogniiion ot Transferee as Lessor are fiol the responsibil;ty of llre Govemment.
no inie.est shallaccrue on suspcnced renl.


2   O7     INIENTIONALLY OELETED

2.08       INIENTIONALLYDELETED

2.09       INTENTIONALLYDELETEO

2,!O     FIRE AND CASUALTY OA'91AGE {SIMPLIFIED LEASE) (2011)

iIIhe Buidiio inwhichthe Prernases are lccaled is tolally destroyed ordamaged by frre or olher casually. lhis Lease shall rmm€diale{y ter.nrnal€ li
the Building n which the Premises are localed is only parlially deslroyed or da.naged, so as to reoder the P:emises untenanlable. or oot usabl€ for
their intended purpose. lhe Lessor shall have the ootion lo elecl !o repa( and resiore the Premises or termrnate the Lease The Lessor shrll be




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per.nllted a reasonable amou.t of lrme not Io exceed 180 days from the evenl of dsslruction or dantage. io repair or reslore lhe Premises if tfe
lessol submils lo tie Governmenl a reasonable schedule for repair of the Premises withtn 30 days ot the event ol deslruclion or damage ltlhe
Lessor fails lc limely submil a reasonable sciedule for compieting the work, lhe Governmenl may eiect to tcrmlnale lhe Lease ellectir€ as orthe daie
oflhe e\,efi oldesructon cr damage lllhe Lgssor elecls to repai, or reslore lhe Prenrises, bul fails 10 repairor r€store lhe Premises within 100 days
fro.n the ewnl of destruclioi or damage, or lails lo c,iligently pursue such repairs or reslo€Uon 60 as !o rcnd€r tmely complelion commercially
impGclicabie lhe Govetnment may teminate lhe Lease effective as of the date ol the destruction or damage. During lhe lime lhal the Premises are
unoccupred, rent shallbc abaled Ierm;nalionofibeLeasebyeitherparlyunderlhisolauseshallnotgverise10liabrlityloreitherparty'Ihisclause
shall nol apply if the evenlofdeslrucion or darnage is caused by the lossoas negtigence o0vilifuI misconducl.

2.11    oEFAULT BY LESSOR IAPR             ml2)
A       The follcwing condrtions shallconstilute default by th€ Lessor. end shali give rse lo the follor.ring        ighls and remedies for the Gcvernment

        (l)    Prlor lo Acceplance of lhe Premises Fiilure !y th€ Lessc: lo diligently Ferform ailobligations r€qlired tor Acceptanc€ o{lhe Space
               within the lir.as specifie(, wilhout excuse, shallconstilule a delault by lhe Lessor. Subjecl lo p.ovision ornotice ofdelaulltclhe Lessor
               and provjsion oIa r€asonable opportunly forlhe Lessor lo cure its defaull,lhe Governmenl may lermmale the Lease oo account oi lhe
               Lessot's defaull

        (2)    AflerAcceptance ot lhe Premises. Fallute by the Lessorloperlorm any reryice. to provide any ilem, or satisty any €qu,remenl oflhis
               Lease. withoul excuse, sha lconslitule a cefaull by the i-ossor Subiecl lo provision ol nollce of deta ull to lhe Lessoa, and provision ofa
               reasonable opponunily ior the Lessor to cuae lls deleull the Govornmgnl rnay perlorm lhe service. provide lhe rtem, oi obta;i satislaclion
               oi the requiremenl by ils o\vn employe€s or conlractors ll the Governmenl elecls io 1:ke such acljon, lhe Govemment may deduct lrom
               renta paymerls rls cosls rncurred in con.ecton w(h lakng the aclion Altematively, the Government nay reduce the rent t y an amo,.rnl
               reasonably calcuiated to a pproi male the cost orvalue oftire servrce not periormed. ilem noiprovided or requrement not salislled such
               reduction eflectve as oflhe date of the commenceme.t oi li]e defaull cona,(ion.

        (3) Grounds fo.lermnalion. The Oovemmenl m.y lerninale the Lease                if:

              (i)    The Lesso/s derault persists nolwilhslanding provrsion ofnolice and reasonable opponun,ty lo            cr.rre by   ihe Golemmenl, o.

              (iil   The Lessor fails to take such actiois as are necessary to prevent        lle   recurreace ofderaull condrtions

and such conditions (i) or    (ii) slbslantially   impair the safe and healthful occupanqy      otthe Premises. or render the Space unusable for its inlended
purposes.

       (4) Excuse. Failure by the Lessor to timely deliver the Space or pedo.m any seNice, provide any rlem. or salisfy any requiremenl oI this
Lease shall not be excused iI ils failure in perlonnance erises ,rom:

              (i)    Circumstan.es wilhin the Lessoas controli

              (ii)   Circumstanc€s about which the Lessor had aclual or conslruclve knor,/ledge p.ior to the Lease Award Oate that could reasonabiy
b€ expecled lo an6cl tne Lesso/s capabilily 1o perform. regardless ol the Governmenfs knowledge of such malters:

              (iO    Thc condrlon of lhe Properly,

              (iv)   The acls or omassions otthe Lessor. its ernplcyees. agents or contractorsr or

              {v)    The Lessor's inabiliry to oDlarn sufficient financial resources lo p€form ils obligations.

       (5) The righls and remedie6 specifed in lhis clNuse are in addrtion to any and all remedies lo which lhe Gove.nment may be enlitled as a


2.12   INTEGRATED AGREEMENT (JAN 2012)

ihis Lease, upon executron contahs the entire agreement oi lhe parties and no )rior wrineo or oral agreemenl, express or rmplied, shall                            be
admrssible 1o contradict lhe provisions ol the Lease. :xcept as oercssiy allached lc and made part ol rhe Lease. neilhe. lhe Request tor Lease
Pfoposals nor any p.e-award commsoicalions by either parly shall be incorporaled in the Lease

2.13   MUTUALITY OF OBLIGATION             ISI     PLIFIED} {APR 2011I

ihe oblqations and covenanls 0l the Lessor. and lhe Gcvernmenfs obligalpn l0 pay refi ano pen0m sucn olnef oDrualofls                           as   ray Lv speLiilBu
herein are nte.depenCent

214    CHANGES        {SllPLIFtEo)   (SE PT 2011)

A      The LCO may ar any 1ime. by wriiton order. di.ect cianges lo the Tls wilhLn lhe Space. Building Security RequiremenE, or the                          servLctss
required under the Lease

B      lf any such change cluses an ncrease or decrease rn Lessols costs or time required tor performance of its obllgalions under lhrs Lease,
whether or not changed Dy the order. ihc Lessor shall be enlitled to an amendment to lh€ Lease paoviding tor one o. more ol lhe iollos/ing:




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         1.   An adiust neat ofthe delavery datei
         2.   An equrlebe adjustmenl in the rentat rale: or
         3.   A lump sum equilable ediLrstment

C        The Lessor shall assert its right 1o an amendmenl under ih6 clause w[hin 30 days ,rorn lie dale ol receipt of the change oder and sha
siibmit a paoposal for adlustment Failure lo agree to any adluslment shallbe a dispute underlhe Dispuies cJause llowever, lhe pendency cfan
adiustmenl or exrslence oJ a dispule shall nol excuse fte lessor from proceeding wilh the change, except the Lessor shall nol be obt,galed lo comply
\tilh such order or direclion il lhe adlustrnBnt lo which it is enlilled causes lhe annual rent (net of operatmg costs) to exc€€d the Smplified Lease
Acquisiton -fhreshold eslablished under GSAR 570 102

D       Absent a written change orrter irom lhe LCO, or {rom a Governmenl ofiicial to whom the LCO has expli.itly delegated in v/ritlng lhe authorily to
direct cianges. Ihe Government shall not be liable to Lesscr under lhis clause. Tha l-essor's ,ailure 10 asserl its nght for adjusL,nent withrn lt€ llme
frame sp€ciried herein shall be a waiver of the Lessois aght lo an adlustment underthis ctause

2.15     COMPLTANCE W|TH APPLTCAALE LAW (JAN 2011)

Lessor shall comply lvilh all Federal siate and local laws applrcsble to irs owne.ship and leasing ol lhe Property, inclLrdlng. v/ilhout tlmriat oi. taws
apPli.able,o lhe construclicn, ownershrp, alteralion or operalion ol al Bllidings, skulures. and facilite$ Jocated thereon, and obtain alt necessary
permts, licenses and sirnfar rlems at its own expense. The Government will comply !.,/ith ali Federal Slale and tocat {a!,r's appticabte lo and
enforcea ble agarnst I as 3 ienant lr nde, lh is Lesse. prorided that nothing ]n this Lease sha lt be construed as e waiver of the sovereign immu nily   o   I the
Governmenl This Lease shall be governed by Federal law.

2.16     MATNTENANCE OF THE PROPERTY, Rt6HT TO INSPECT {STUpLIFIED) {,lAN 2011}

The Lessor shall marnlarn the Propeily. incuding the Bu,lding. Building syslems. al)lj all equipment. llxlu.es, and appu(enan.es lurnrsheC by the
f.essor under lhis lease. in lood reparr and lenanlable condilion Upon request ol :he LCO. lhe Lessor shall provde v,/ritten documentatior that
Euilding syslems have been propeny mainlarned lesled, and are operalioial v.ilhin fianLrlaclure/s warranted operaling slandards, The iessor shsll
maiola I the Premises in a safe and heallhful coadi$on according lo applicab,e OS-lA standa.ds. including standards gowming indoor arr qualily
existence ot mold and olher biological hazards. p.esence of hazardous malerals, e( The Govemmenl shall h6ve the raghl. al any time alter the
Lease rs sgned and dur n€ ths term oI the Lease, to lnsp6cl all areas ollhe paopeny lD wh ch access is necessary for the puapose ol determmmg ihe
-essoas compliance wilh lhis clause

21;      CLAUSES TNCORPORATED aY REFERENCE {StMPLtFtEO) (MAR m13}

 Ihis rease incorporales oneormore clauses by reference, vnlh lhe same force and eflecl as flhey we.e given inlull iext. Alr dollar tllreshotds s€l
iorth boiow reler 10 TolalConkact Vaiue. or the totalof allgross.enlalpayments lo be made dJrng the initialterm of lhe Lease plus any oplions. All
ctla|ons to the FAR or GSAR are provrdeo ior convenience of reference, and chall nal be underslood as subjecling this Lease to aoy provision of the
fAR or GSAR excepl lo lie erlenl lhzl clauses prescribed by the FAR o, CSAR are expressly incoDo€ted rnlo this Lease.

          FAR 52 204"7. CENTRA! CONTRACTOR REGTSTRATTON (DEC 2012)

          I-AR 52.204,10, REPORTTNG EXECUTIVE COI\,IPENSATION AND F|RST-TIER SUBCONTRACT AWARDS (AUG 2012) (Appricable if
          ovei t25,000)

          FAR 52.209.6, PROTECTING THE GOVERNi,IENT'S INTEREST W}.]EN SUACONTRACTING WITH CONTRACTORS DEBARREO,
          SUSPENDED, OR PROPOSED FOR DEBARMENT (DEC 2010) (Applicable to Leases overS30,000.)

    4     FAR 52 215"10, PRICE REDUCTION irOR DEFECTIVE COST OR PRiCiNG                    D   TA {AUG 2011) lApplrcablo when cost or pacing dara aG
          requrred for work or servjces ove, $70C,000-)

    5     FAR 52 215-12. SUBCONIRACIOR CERTIFiED COST OR PRICING DATA (OCT 2010) (Applicable i, ov€r $700.000                         )

    6     FAR 52219'3, SI!,{ALL EUSINESS SUSCONTRACTING PLAN (iAN 2011) ALTERNATE                            lll   (JUL 2010) (Applicable   lo   Leases over
          E650,000     )

    7     FAR 52 219-16, LIOIJIDATED oAMAGES-SUBCONTRACTING PLAN (JAl'l 1999) {AppJacable to Leases ovEr $650.000.)

    8.    FAR 52.219.28, POSI-AWARD SIVALL SUSINESS PROGRAM R€REPRESENTATION {APR 2012) (Applicrble                                  lo   Lease$ exceeding
          $3,000   )

    I     FAR 52.222-21, pROHTBTTTON OF SEGREGATED FACiLTTTES (FE8',r999)

    r0    FAR 52 222,26. EOUA| OPPORTUNTTY 0"tAR 2007)
    1l    FAR 52 222 35, EQUAL OPPORTUNITY FOR VETERANS (sEP 2010) (Applrceble to Leases o\€r 5100.000.1

    12    FAR 52.222-36. AFFIRIVATI\€ ACTION FOR WORKERS              \MIH DISABILITIES (OCT 2010) iApplicable to Leases ove.515.000              )

    13    FAR 52 222-37, El\!PLOYMENT REPORTS VEIERANS (SEP 2010) (App,acable to Leases over $100,000 )

          FAR 52223-6 DRUG-FREE WORKPLACE ([4AY 2001) (Applicable 1o LBases over 5150.000 average net annual rert inciudng oplon
          pedods as well as 10 any Leases oI any value awarded to an individual)

    t5    FAR 52.232-33. pAyMENT By EIECTRONTC FUNDS TRANSFERCENTRAL CONTRACTOR REGTSTRAI ION (OCT 2003)

    16    FAR 52.233-1. DTSPUTES (JUL 2002)




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                                                              -*-     GOVERNMENT:          fiJ                      GSA FORM 12014 {10/12)
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    17     GSAR 552.215-70. EXAT,,flNATTON OF RECORDS BY GSA (FE8 1S96)
    18     GSAR 552.232-23. ASSIGNMENT OF CLAIMS (SEP 1999) (Applicable lo Leases over$3.000   )

    r9     GSAR 552 270 31, PROMPT PAYI\,IENT (JUN 2011)




LEASE    fio.   VA261 -13-L-00 27, PAGE 7   LEssoRi         GovERNMENT;    - &{rl                  GSA FORt4 L201A110/121
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S€CTION          3          CONSTRUCTION STANOARDS AND SHELL COMPONENTS


3   01        WORX PERFORMANCE (JUN 2012t

Allwoll in pedormance of lhis Lease shall be done by skilled worters or mechanics and shall be acceptable lo ttre LCO The LCO may reject the
Lessors workers 1)ii sirch ale lnlicensed. unskilled. or olherwise incoinpeler{, or 2) ii such ha!,e dernonslrated a hislory of eilher unlimety ot
olheMrse Lrnacceptable periorrnanae rn COnneCtOn wjlh wO Car ed oU in conjunalicn wilh Oither lhis Conlracl Or other goyernmen! or private


x.02          RECYCLEO CONTENT PRODUCIS {COMPREHENSTVE PROCUREMENT CUTDELTiTES) lJUN 2012)

a        The Lessor shallcomplylo lhe 6nent feasible with the Resource Conservation aM Recovery Act {RCRA). Se'ctjon 6002. 1976- Tne Lessor
shall .rse recycled contenl produaE as indicated in lhis RLP and as designated ry the US Environmeotat Protection Agency (EPA) ir lhe
Comprehensile ProqJremeni Gudelires (CPG). 40 CFR Part 247. and ils accompanying Recovered Malerals Advisory Notice (RMAN). ?he CPG
rsls the desrqnated recycled conlenl producls. EFA also provides recommended lewls of recyded content for these producls The list of designated
producls EPAs recommendations. and lisls of manufacturcrs and suppllers olthe producls can be lound at htlo:/wwlv eoa.qov.

e.         The Lessor. il unable lo comply wilh bolh the CPG and R[4AN l6ls, shall submit a Request tor Waiver for 6ach material to lhe LCO wrth the Tl
pricrng    submittal The requesl lor wai)/er shail
                                                 be based on lhe following cnteria:

       1. Ihe cosl of lhe recornmended product      is unreasonable
       2   inadequale competition exists.
       3   llems are nol available witllrn a reasonable penod
       4   lier.s do not meel Lease performarce standa.ds

3.03         ENVIRONMENTALLY            PREFERABLE BUILDING PROOUCTS AND MATETIIALS {DEC                          2OO7}


A       Ihe Lessoa shall use environmenlally preferable products and rnalerials. The Lessor rs €ncouraged lo consider the lifecyc,e analysis                   oflhe
producl in addilion 10 lhe inilialcosl.

B          Rerq   lo    EPAs environmentally prelerable purchasrng Web sile- wwr.epa.gov/epp and USDA 8io-Prererred producls W?b site
\yww b,obased oce.usda.gov/jMp/. ln general. environmenlajly prefe.able prodijcts and maledals do one or more olthe following:

C   enla rn rccycled material, are bio-based are ,apdly renewab le ('l o-yeaa o, sho(er gao\?th cycle). or have olher posrlive enviroamenlal atlribules
                  1    lJinimiz6lh6 consumption ofaesources, energy, and waler
                  2    Prevenl lhe crealion of solid wasle air pollulion. or weler pollution.
                  3    P.omote the use cl nontoric subslances and avoid loxic malerials or p.ocess€s.

C          The Lessor is encouaged Io use proCucls lhat are earacted and marutaclured aegionally

3.04 EXISTING FIT.OUT. SALVAGEO. OR REUSED SUILOING MATETUAL {JUN 2012I
A llems end melenals exsling :n the lease Prem,ses, or lo b€ remo!€d irorr lh€ lease Premises during lhe cjemolition               phase, ate eligible for
reuse in the conslrlrction phase of lhe proiect. The reuse ol items and materials is peferable tc recycling them; however, items consadered For relse
shall be ,n re-fubished condition and ghall meel lhe qual(y slandards set iorth by the Gove.nrnent in thrs Lease ln the absence of deinitive quality
slandards, the Lcssor rs respoosible to confirm that lhe qualily ct th€ ilem(s) in queslion shallfieel or exceed accepled ind!stry or trade slandards ior
frrsl qualily commerclal grade applicalions

B.         The Lessor   s   hall submil a reuse plan lo the   LCO The Government will not pay lorexisting fixtlres and other Tls accepted          in plaae. Horvever
lhe Government w       tt reimburse the i.essor, as part of    lhe I IA lhe costs to repar   oa   improve such lixtures or mprovefirenls identified on the reuse plan
and approved by the i.CO

r.o5         wooo     PRoDUCTS (auG 2008)

A      For att new inslallalions o, wood ptoducts, the Lessor is encouraged lo use indep€ndenlly cenrfied Iorest producls For infofination on
cedfcaton and ce.tified wood p.oducts. refer io tlle Folesi Cerlliicallon Resour€e Center (,.{ww.certiliedwood-org). lhe For€st Slewardship Counol
United Slales    gary:hlusgo. orlhe          Susle nable Fcrestry l^ilialive (www aboutsi.oro).

B          New mslaltatons of wood producls          lsed under lhjs contracl shall nol conlain wood irom endangered wood specles, as listed by the
Convent,on on lnlernalio nal Trade rn Endar,gercd Specaes. The hsl olspecies can 5e fouM al w\rw.crles. oro/eno/resources/sDeoes.                  hlml.

C        Parlacle board. slrawboard. and plywood malerbls shall cornpl! erith Depannenl of Housing 3nd Urban Dcvelopnrenl (HUD) slandard6 lcr
lorrnaldehyde emission conlrols Plpvood rniteriels shall not ernil formaldehyde in e(l]ess ol0 2 parls per million {ppm), and partrcleboard materials
shall not emrlfor,naldciryde in ericess 0f0.3 ppm

D       A I malcrials cornp.lsed cl conrbus|ble substancos. such as wood plywood and wood boards, shall be treaied wlth fire retardanl chemicals by
a pressure rmpregnal on process or olher methods lhei lreals the malenalS throughoul as opposod lo surface lroalment.




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 3,06      ADHESIVES AND SEALANTS {AUG 2OO8)

 All adhe6ives employed o^ th;s p.ojecl {including. brrt flot lrmrled lo, adhesives lor carpel. carpet tile, plastic taninale. watt covenngs. adhesives for
 wood. or sealanls)shallbe ihose wilh the lowesl possible vOC content oelow 20 grams per lite. and which meet ihe requirements of the manufadurer
 of the producls adhered or involved The Lessor shall use adhesives and sealants ,,,vilh no tormald€hyde or heavy           metats Adhesi\es and      othea
 malerials useolorihe mslallalion of .ilp€ls shatlbe tlmited 10 those iaving a flash point of 140 degre€s F or higher

 3,07      BUTLO|iiG SHELL REQUTR€Ii|EMTS (JUN 2012)
         _he
 A             Builcing Shell shall be designed, conslrucled and maintained in accodance v,/ith tbe standards sel forth hereir and compteled prior lo
 acceplance of    Space Fo. pricing fulfillment of all .equrrollle ls nol spe.iiicelly desigrated as Tls, Bu ding Speolic Secuaty. Operaling Costs, or
 olher rent components as indicared shall be deemed included in the Shett R€ot

 A        Ease struclure and Building enclosure componenls shall be complele. Alr co,nmon areas accessible by the Government. such as lobbies. ,ire
egress conrdors and stairwells, elevalors, garages. and seNices aleas. shallbe complele Restrooms sha{t be complet€ afld operationat. Alt .ewly
r,rslalled Buiiding she[ componenls, including but not limiled lo healing, ventilatjon. and ar conditioning (HVAC). etaclncal, ceitings. sprinkjers. etc
shellbe lurnshed. instalied, and coordrnated with Tenant tmprovements Circutation crnrdors are provided as pa(oithe bas€ B!itdng onty on mut!
tenanlcd 0oors where the conido, is cooruon lo more lh3n one tenanl. On single tenart lloors, onty the lire egress coridor{s) necessary tc meel code
rs provrded as parl ofthe shell.


3.08       RESPONSIatLtTY OF THE LESSOR AirD L:SSOR',S ARCHTTECT/ENGtNEER lStMpLtFtEO) (JUN 2012)

The Lessor sha,lbe responsible ror lhe prolessionalquality.lechnicalaccuracy. and the coordination ofalldesigns. drawingg speofications. and othe,
seMces lurnished by the Lesso. under this conkact The Lessorshall, wilhout additronalccmpensalion. cooect or revise any er:Ors or dellaencres rn
ils desrgns. drawings, specilicai,ons. or ollrer servrces. TH€ LESSOR REMAINS SOLELY RESPONSIELE FOR DESIGNING, CONSTRUCTING
OPTRATING, ANO MAINTAINING THE LEAS€O PR:MISES IN TULL ACCORDANCE WITH THE REQUIREfu]ENTS OF TH€ LEASE, ThE
Oovernmenl relains the agl,t lo aevrew and appro,!€ aspecls of lhe Lesscis design. Srch rcvlew and aoproval is intended lo identify potenti3l desron
llaws. 1o minimi^ coslly misdirection ot elfort. and io essist the Lessor in ils effort 1o monito. wh€1h€r such desion and conslruction comply vrilh
applicable laws and salisfy allLease reqLriremenls.

3.09      OUALTTY ANo APPEARANCE OF BU|LDTN6 (JUN 2012)

Tre Building rn which lhe Premises are localed shail be desioned. buill and          ma rlained   in Oood conditron and in accordance wilh lhe lease
rcquiremenls      It not new or recenl consltuclion, lhe Building shall have undergone ay occupancy, modernlzation, or ad3ptive rcuse ,or ofllce Space
wiih modern conven€nces. The Burlding shall be compalible with its suffoundings. Overell, lhe Building shall prolecl 3 pmiessional and aesthetically
pleasing appearance including an altractive front and €nlrance way.

3.10      VESTTBULES 1APR 2011)

A        \reslibules shall be provded al public enlaances arid exils wherever weather cjndilions and h€al loss are impo(ant taclors for coisideration
in lhe evenl otnegarive af pressure condilions, prov6ons shal{be made forequalizing air p.essuae


3.11 MEANS OF EGRESS (JUN 20121
A The Pism ses and any paAing garage areas shall meel the applicable egress requiremenls in lho Nalional Firc Prolecilon Associaljoo. Life
Sslely Code (NFPA     l01,o.lhe lntemalionalCode    Council. lnlernational Euilding Code (lBC). (bolh currenl as oflhe award dale ofthis Lease).

ts      The Space shall have unr$trictive access lo a mioimum of lwo ,emole exts on each toor oi Governmenl occupancy

0.      lnlerlocking or scjssor stairs localed on lhe lloo(s) where Space is lo&ted sllal onJy counl as one ex( slair

D.      A fire escape localed on the 1]oo(sJ where Space ls located shall nol be couoled as an approved e)(1 slair

E       Ooors sMll nol    te locked ix the Circclion of egress unless equipped \nilh specral locking hardware in accordance wilh requirements ot NFPA
101 cr the tBC.

3.12      AUTOMATTC F|RE SPRTNKLER SYSTEi| IJUN 2012)

A       Any po(ion ofthe Premises localed below-grade. ncludng parkrng garage araas. and allareas in a Suilding reterred to as "hazaadous areas'
(delined in Fire Proteclion A5sooalion (NFPA) 101) lnar are located ryilnin the enlire Building (includiflg ncrFcov€rnment areas) shall be prolected by
an aulomatic lire spnnkler syslem or an equavalenl levelofselety.

B       For Buildings an which any portion of the Premises rs on or above the sixth floor, then, al a minimum. the Building up to and including lhe
i€hesl iloor of Govemmenl ocaupancy shallbe prolected by an aulomatjc:l.e sprinkler system or an equivalent lcvelolsalety

C       For Buildings in wlrich any portion of the Premrses rs on or above the sixlh floor, and lease ol lhe Premrses will result, eilher individualy or,Ir
cornbinallon wtlr olhcr Government Leases m lhe Burldng, rn the Gover'iment {easing 35,000 square l€el or more ANSI/BOMA Oflice Area square
leel of Space in lhe Building. the, the eniire Buibing shall be protecled throughou{ ljy an aulomatic fire sprinkler system or an equivalenl lelel of




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 D.     Anlomalro irre sprinkler system(s) shall be installed a accordance with the requiremenls ot NFPA,13, Standatd               bt   the hstallalton at Sptirklet
 Syslems.

 E      Auoma nc lke sprinkler sys tem (s) shall be mainlained in accord ance w,th lh€ req uirements oi           N   FPA 25. Standad ,.or lhe tnspect()n Testng.
and Matnlenance ol WaleLbased F[e Ptutechon Systerns (oirrent as oflhe awad date olthis Lease).

F        "Equrvalant level of salely means an allernatjve desron or syslem (wh,ch may include allomalac fire spnnkler syslems) based upon ,lre
,.otection engineerino analysis which achieves a level ofsafety eqlalto o.9lest$ ths.lhai proviled by auiomaliclire spdniler syilems

3,13       FIRE ALARII/I SYSTEM (JUN 2012}

             A Building-wide f,re abrm system shaf be nslalied ]n lhe eoliae Brrildrng in whrch any porlion ol lhe Prennses is located on lhe             3'd floor   or
hrgher

a           Ine fire alarm syslern shall be installed and mainlarne{ rn accordafl{e         wiit   NFPA 72. fuaioral Fire Alalm and Sgnating       arde (cur.ent as
the award ol the Lease)

             The   fre alafin system shall auometicaly   noirry   he   lo6al fire departrn€nt. remote stalron. or UL listed centrat statron


0           ll lhe Burlding's n.e alarrn clntrolunit is over 25 years old as oflhe date oJ award of Ihis Lease, Lessor shall;nstalla new fire alarm
syslem ro ac€ordance with the requirements ofNFPA 72. Nalional Fire AJarm and Signaling Code {curTeni as oi lhe award oi the Lease), pfior to
Governmenl acceplance and occupancy oflhe Premises

3.14       ENERGY TNOEPENOENCE ANO SECURTTY ACT (DEC 2011)

A        Thc Energy lndepend€nce .rS Security Acl (EISA) establishes lhe tollowing equirements tor Govemment Leases in Buildings lhat have nor
eamed the ENERGY STAR@ Label conferred by lhe Environmenlal Proteclion Agencl/ (EPA) wilhn one year prio, to the dus date for linat proposal
revisions {'mosl recenl yeai').

ts       It lhrs Lease was awarded uoder any ol EISA'S Secllon 435 statutory excepliorls. lhe Lessor shall eilher:

      1. Earn the ENERGY STAR@ Labelpdorto aaceplance of lhe Space                  (or ol laler   lhan one year afrer the Gase ALrard Dale ofa succeecing or
          supersedrng Lease). or

      2. Complete enetgy efliclency and conservatior mprovements    if any. agreed lo ty Lessor in lieu of earning lhe ENERGY STARO Label prior lo
          acceptance oflhe Space {or nol ialer than one year arterthe Lease Award D.te ot a suc@edinq orsuperseding Lease).

C      lllhis Lease was awarded 10 a Build ng to be built orio a Euilding predominanlly vacant ai lhe time ofaward and uoab,e to earfl lne ENERGY
STAR labeldudng lne mosl recenl yeardue to insulficienl occupancy bulw?s able to demonslrate sufficjent evidence ofcapabiliiy:o earn lh6
ENERGY STAR label. then Lessor must eam th€ ENIRGY STAR label wilhin 18 mcnlhs ater ocaupancy by the Government

3.rs      ELEVATORS iSIIIPLIFTED) (JUN 2012)

A        T he L essor shall provide surla ble pa ssenger 3nC when req (r ired by lhe Gover| nenl. lrelght elevalor service lo any oI th€ P remrses nol having
ground level access Serv,ce shall be avaibble during the .o,mal houa of op€ratron specrlied in the in lhis Lease l..lowever, one passonger and,
when requrred by the Government, one lreight el€valor shall be available at alltimes fdr Govemmenl use. When a freight elevator is requared by the
Gcvernmenl. il shall be acce$rble to lhe {oadrog areas. \ryhefl possible, lhe Govemment shall be give* 24-hour advaflce nolice if 1116 servica is to be
inlertupled lor mcre than 1-1./2 nours. Normal service inlertuplion shall be s.heduled outside orlhe Colernmenl's normalvJo*rng hours The Lessor
stullalso use besl eflcrls lo minimlze the freqLrency ard duralion ofunscheduled inlerruplions

B        eO.dg Elevatcrs shallconform lo the cuneni requrremenls of lhe American Sociely of Mechanieal Engheers AS,ME A17 l.SalelyCodelcl
Elevato6 and Escalalors (currenl as ol lhe awad dale ol thas Lease) u/ne.e provrded, elevaior-lobby and elevalor-machine-room smoke deleclo15
shall activale the tsuilding fire alarm 6yslem provide Phase 1 automatic recall oflhe elevalors. and automalically noliiy either lhe localiire d€parlmenl.
remole slaiior or uL lisled cenlralslation The elevarors shall bs inspecled and mainlaihed in accordance wilh the curenl edrtion of the ASME A17.2.
lnspeclor's lvanlalfo. Elevalors. ExceplforthereferencetoASlllEAlTrinABAAS,SectionFl05.2.2,allelevatorsrlruslmeetABAASrequrrcmcnls
for accessibilily in Sections 407.408. and 409 oi ABAAS.

C.     Safetv Systemsr Elevalors shall be equipped with lclephones or other two-way emergency communrcalion syst6ms. The syslem used shall
be markeC and shall reach an emergency cornmunication localion starfed 24 holrs per lay, 7 days per week

3.16      oEMOL|IoN        (JUN 2012)

The Lessor shall rernove exisling akndoned elect c teiephone and dala cabling ano de\rces. as well as any other irnprovernenls or fixlures in place
lo accomnrodate the Gover.henl's requirements. Any demolilion of erisling improvemenls lhal is nocessary io satisly the Govemmenl s layout shal:
be done it lhe Lessols e,(pens€.

s.17      ACCESSTBTLTTY IFEB 2007)




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The Building, leased Space. and a€as serving lhe leased Space shall be accessible to pe.sons with dasabilities ir accordance wilh lhe Architectural
Earriers Acl Accessibilily Slandard (ABAAS) Appendices C and Oto36CFRPartll9l (ABA Chaplers 1and2,and Chapte.s 3 througir 10) To the
exlent the sladard referenced in the precedrng sentence coniicts with toclt accessibrtity requircmeftls.lhe more stringent sh alt apply

3.r8       CEILTNGS (S|MPLTFTED) lD€C 2011)

A complele acoustical cealing syslem ($'frich includos grid and lay-m tiles or other Euilding standaad ceiling sysEm as approved by lhe LCO)
lhroughout Ihe Prernis6s and all common areas ac@ssable lo Govemment tenants shall be requireat The acolslical ceiling syslem shall be fumished,
 nstalled and coordinated wilh Tenanl lmprovemeols.

Ceihngs shall be at a minmum 9 leet and 0 inches and no more then 12         feel 0 inches measured from floor 10 lhe lov/est obstruclion Areas \Mth
raised flooring shall mainlain these c6 ing heighl limiletions ,bove the rinished raas€d fioodng. Bulkheads and hangirE or surface mounled tight
fixlutes which impede lraflic ways shall be avoided- Ceil,ngs shall be uniform io colo'and appea.ance lhroughoul the leased Space. with no obvaous
damage lo tiles cr griJ Ceiirngs shallhav€ a mrnimum noise reduclion coeffciefll (NFC)of060 throleoou the Governmenl demised a.ea.

Offiaes and conle.ence rooms shall have mrneral aad acouslacal lile or lay rn panel! wilh lextured or patlemed surface and legular edges or an
equ ale.l p.e-approved by the LCO Trles or 9an€is shall contaio.ecycled conlenl. Restrooms shall have plaslered or spactled and rapod gypsum
bca.d.

3.19       EXTERIOR AND COMMON AREA DOORS AND HARDWARE (JUII 2012,

A          Exle.ror Blrildng doors and doo.s necessary io lhe lobbies. common areas and core areas shall be            requred. This does not include suile
e.try or inlericr dcors specific lo Tls

B.           Exleriordoors shallb€ wealher light and shallopen outv,/erd. Hinges. prvols. and pins shalibe inslalled in a manner wnich prevenls r€moval
lvhen lhe doo, is closed and locked. These doors shall have a mhhum clea. opening of 32' ciear wde x 80" nbh (per leafl. Doors shall be heavy
duly. flush. 1)hollow steel conslruction, 2) solid core wood, or 3)insulated tempered lllass As a minimum requi.emenl. hollow steeldoors shall be
firlly insuiated. tlush #16-9au9e hollowsteel. Sold-core $/ood doors and hollow steei d oors shall be al ieasl l-3/4 inches thick. Door assemblies shall
be oI dLi.able fnish and shall have an aesthefcally pleasing appeaBnce acaaptable lo the LCO. The openinq dimensioos and opeElions shall
coniorrn to lhe governrng building, ,ire safely. aacessibrlily. and energy codes andlor rquirements. Properly rated and labeled "fire door assemblres'
shallbe nslalled on all,ire egress doors

C            E(€dor doors and al comrnon aroa doo6 shail have Coor handles or door pulls with he3lyweighl hinges AIi doors shal have
conesponding doorstops (wall or floor fiounted) and silenceG. All public use doors ard restoom doors shall be equipped wilh kick plalcs All doors
sh ail lreve a utomatic d oor c osels All Building exleriordoors shallhave locking ievic.:s insblled loreasonably d eter unauthorized enlry


3.20       WINDOWS (Sr[4PL|F|ED) {AUG 2011)

All w ndcws shall be u/ealher li!ht. Operable windows lhal open shall be equipped Lrllh locks Oti-slreel. ground-levei winrlows and those accessible
from fre escapes. adjacent roofs and olher slructures that can be openei musl be lded w(h a slurdy locking devrEe. Wndows accessible f(om fire
escapes mlsl be readr{y operable from the r.stde ollhe Bu ldrng

3-21       PARTITIONS: PERMANENT (JUN 2012)

Permanenl partrtions shatl extend hom the slrdctural ,loor slab to the slruciural ceilng slab. They shall be provided by the Lessor as parl ol shell rcnl
as neccssary lo surround tne Specc slafs. co.radors, elevalor shafrs, restrooms, all ,]olurnns, and janilor closels. They shall have a flame spreac
ralino o, 25 or less and a smoke develop enl rating oi 50 or less (AS'fM E'84) Stairs elevalo.s. and olher lloor openings shall be enclosed by
parl,tions and shali have the lire .esislance required by lhe applicable buildrng code. frre code and ordinances adopled by lhe Jurisdiclon rn wnich the
6uildrng is localed (such as lhe lnlernalional Bulding Code. elc.l curreot as oltie av/ard date oithis Leese

322        INSULATION: THE RMAL, ACOUSIIC, AxD HVAC IAPR 20111

A        All tosujalion producls shallconlain recovered rale.ials as requted by EPAs CPG and aelaled r€cycled content recommendalions

B         Nc insulation installed wilh this p.oject shall be mate.ial manefactured usirg chlorolluorocarbons (CFCS), nor shall CFCS be used in lhe
iistall6lion of the producl.

C.       Ail msulalioi containing fb,ous malerials eiposed lo   ai   ,low shall be raled for l1al exposiJre or shall be encapsulated

O        hsllalng propertres tor all male,ials shall meei or exceed ,pplicable rndusl,! standards Polystyrene producls shall meet Amencan Socrely
fcr iesling and Mat€ri3ls (ASTM)C578      91


E        All ,nsLrla:aon shallbe low emitting wrlh not grealer lhan 05 ppm lomaldehyde emissions

F        The maximum llame spread and smoke developed roder for insulation shall me€l lhe requiremenls of lhe apphcable local codes                    and
ordinances (cu(eol as o, the award dale cf lhrs Lease) adopled by theluasdrctjon rn lrhrch lhe Euilding rs localed

3.23      PAtNTtNG    -   SHELL (JUN 2012)




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A       The Lessor shall bear th€ expense for ail parnling asso.ialed l./ith the Building shell. Thoso areas shal, irclude all common a.eas Exlerior
perimeler walls and interior core walls withifl the Space shalt be spac ed and pnmc painled with tow VOC primer. lt any Buitding shelt a.€as e,e
akeady panled priorto Tenanl lmprovements, tien th6 L.essor shallrepainl. at Ihe Lessor's expense, as necessary dudng Ienanl htrovemenls

B The costs tor cyclical pamting requiremenls ss outtined rn Seclron 6 shal be inc]uded in the sheit rent.
3.24 FLOORS AND FLOOR LOAD UUN 2012)
A All adjoi'ring llool areas shall be of a commor level nol varying more than 1/4 inch over a 1$.{oo1 horj?ontat nrn in accordance wlli lhe
amen.an Concrete lnstitule slandards, non,stip, and acceptable to lhe LCO.

8       Underlloor surfaces shall be smocln and level Offrce areas shall have ? minimum live load cepacaty of 50 pounds per ABOA SF plus
2C pounos per ABCA SF for moveable    parlitions. Srorage arees shall have a minirum lile load capacity ol 100 pounds per ABOA SF. rocluding
rnoveable Pa(ltions. Lessor may be requted to pmvidd a report by a .egisler€d structural €ngineer showing lhe ffoor load €pacily. al tho Lessor's
expense. Calculalions and slructural drawings may also be requted

3.25 FLOOR COVERTNG AfiD PERTMETERS lsflupLtFt€O) {JUN 2012)
A. Fooring mate althrough Building common areas shallbe ofquality materials.6s apprcved by lhe LCO.
I   The costs forcyclical carpel replacement requiremenls as outlined rn Sedion 6. shallbe included rn the shellrenl

3.26 MECllANlcAL, ELEcTRlcAL, FLUMBIi{G: GENERAL (APR 2011)
The Lessor shall provid€ and operat€ €ll Brrilding equipment and syslems in accordaocg with applicable technical plblications, manuals, and standard
procedures. I\,larns, lines. and.neters tor ulrliies shall be prolided by lhe Lessor. E,(posed ducls, piping. and condults ale not pgnrlilted in office
Space

3.27 ELECTR CAL (STMPLIFTED) (JUt{ 2012)
A. The Lessor shall be responsrble for meeUng the applicabk requireanents             oI local codes and ordinaoces. Vlhen codes conflcl.         tie   mofe
stringenl slandard shall apply

B      All power diskib{]lian equipmenl shall be required lo haodle the aclual spe,riied and prqected loads and          l0percenl gpare load capacrly.
Fuses and circuil baeakers shall be plainly ma*ed or labeled lo ideniify cjrcuils or equiptrent supptied thrcugh them.

C.      Convenience ou{ets shall be installed ih accordaNe wrth NFPA Slandard 70. Nat,onal Electrical Code, or local code. whichever is more
slflngent. The Lessor shall provrde duplex ut aty oullets ro reslrooms. comdors. and disp€nsing areas.

3.2A       INTENTIONALLYOELETEO

3.29       PLUMBTNG (JUN 2012)

Thc L.roei.h.ll inalqn. rhc co.t ai plvmlcing in co                  Hor 3.C..l.l wet6. iseE .nd.lMesti.   w,<iE :nd wsr.i<rE       inslallEd and .ee.ly f6r
conreclions lhal are required lor Tls, shall be included in the shell rcnt-

3,30       ORINKING FOUNTAINS IAPR 2011)

On each rloor of Govemm enl-occupred Space,lhe Lessor shallprovide a minrmum ofiv;o d nking fountains with chilled potab,e waler wilhin 200 {eet
oi travellrom any Govemm€nl-occupied area on th€ lloor. The fo untains s hall comply v,/ith Section F21 1 of lhe Architectu ral Baders Acl Accessibil(v
Sta.dard

3.3'l      RESTROOMS (JUN 20121

     lflh|s Lease   is sa$sfied by nev,/ construdion o, mapr alteratons, the Lessor shallproude water closets, sinks and urinals on each floor tfsl,s
     partially or tully occlipied by lhe governmeot per lh€ ,ollowing scfiedule. The schedule is perioor and based on adens[y ofone personloreach
     135 ABOA SF ol otrce Spacc. lf major alie.atrons lolhe reslroorns ocaurdudng tle leam oflhis Lease,lhe flumber oflixlures musl rneel the
     schedule as oarl ofthe malor alle6tions

                    ESTIITIATED TOTAL         twoMEN's)        (woMEN'S)           {MEH'S)            IMEN'S)            (ME N'S)
                    IIUMBER        OF         WATER            S   INKS                               URINALS            SINXS
                    PEOPLE        PER         CLOSETS                              cLosErs
                    FLOOR
                    ,1
                            to8                    2                      1               1                 1                1

                    I       ro       24            3                      2               2                 1                1

                    2S      to       36            3                      2               2                 1                2
                    37               56            5                      3                                 2                2
                    57      to       75            6                                      +                 2                2
                    76      to       96            6                      5                                                  3
                    97      to       ll9                                  5               5                 2                3
                    120     to       134           9                      5               5                 3                4




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                                Above 135                    3/40                  1124               1t20                1140         1/30

 B          ll no ,€v/ conslructDn or majo enovatron ol a iestroom is occuning, complia[ce wilh tocat code is sufficient Separate reslroom tacililies lor
 men and women shall be provided in accordance v..ilh local code or ordinances. on each floor occupied by lhe Govemmenl in the Buitding. The
 lacililies sha I be localed so thal ernployees will nol be .equired to iravel mcre lhan 20c leet, on one lloor lo reach lhe aestrooms. Each reslroom shall
 have sufrcient water closels enclosed wilh modern stall pa(i{ons and doors. urinals (in men's room), and hol (set in accordance wjth appticabte
 buildrng codes) and cold waler Waler closets and unnals shall nol be visibte when th6 exle.ror door is open.

 C       Each main reslroom shell conlain the following

        I    A mkro. and shclf abole lhe lavatory.
        2    A toilet paper dispense. in each water closel slall that will hold at,easi two rolls and allow €asy, unrestdded dispensrng
        3    A coal hook on lhe inside face oflhe doorto each waler clos€tslalland on sevsral we ll locatlons by the lavatorjes
        4    At least orie modern paper tolveldispenser. soap dtspenser and wasle receptacle ,or every lwo levaloaies.
        5    A coin-operaled sanitaryupkin dispeosea io women's rcstrooms wilh a wasle receplaclt in each h/ater closel stall
        {i   A disposable loilet seat coverdispenser
        7    A coonler area ol al least 2 leet. 0 nches in ienglh. erclusive or lhe lavalories (hcwever. it may be atleched lo the lovstories, wilh a mirror
above and a groundjasll interrupler-type con!€nience oull€t located acllacent to the oJ']n16r area lhe counterslrould be anslatted tominimize poolinq
or sprling olwater at ths irontedge
        8    A foor drain
        I    For ne$? inslallations and malor rcnovalions reskoom parlitions shall be made from recoveed mater,als as lrsted in EPA s CPG.

3.32         PLUMaING FIXTURES: WATER CONSERVATION (oEC 2011)

Fcr new lnslallalions and whenever plumbing flxtures are being replaced tepla€enent per lloor is rcquired prior lo Lease commencement rn                     all
inslances of nonconfofinance lyhere the Governmenl occupies the fullfoor):

A.       Wale. close8,nust conform to EPA Welersense                 orlixllres   wrth eqllvalent llesn volumes   husl be utilized

B.       lJdnals musl conform to EPAWalersense orixturcswilh equrvalefllfush vol(rrnes miisl be uliljzed. Walerless urinals are acceptable

C        Faucels must conJom to EPA Wate6ense orfixlu,es with equvalent now rates. must b€ ulilized

I'llormation on EPA WalerSense fxiures can be found at htlp://v wv.ep8.govl,ratersense/.

3.33         HEAn    G, VENILATTON, AND AtR CONo|T|ONING                    -   SHELL {SrMpLrFrEf'UUN 2012)

Cenrral HVAC syslems shall be inslalled and operalional inclLrding as appropnate. Tain and branch lines, VAV boxes dampers. Itex ducls. and
drffusers, for an open otfice layout. including aU Bulding common areas Syllems shali be designed with suflicient systems capaoly lo meet ali
reqli@menls in lhis Leasei equipment shall be concealed. Aroas having excessive heat gain o. heat loss. or affected by solar radiaUon at ditlereni
llmes ofthe day. shallbe indepeMenlly conlrolled

Any d!clwo* lo be reused and/or lo remain in pl6ce shall be cleaned. tested, and denonst€led to be clean rn accordance wlth the slandards sel lo(h
by NADCA. The cleanrg. tesling. and demonslration shall o(rur immedretely olr lo Gov€rnmenl occrrpency to avoid coniamination frorn
consttuclion dlsi and olher airbome parlicuales

Arr lillratron shall be provrded and maintained wilh llllers having a mrni.hum efiiaiency Eting as deiermned by ANSUASHRAE Standard 52.2. Durir!
working hours in periods oI heating and cooling, vertilalion shall bc provded in accordance wth the lalest edltion ol ANSUASHRAE Standard 62 I
Pre Illlers shallhave a MERV efriciency of          I
                                                Fin8lfliers shallhavea |\,4ERV effiaiency 0113. Restroofirs shallbe properly exhausled, wilh a mioimum
ol10 air changes per hour.

3.34      TELECoIUMUNICATIONS: DISTRIBUTjON AND EQUIPMENT {SIMPLIFIED) {AUG                                   20ll)
A       Building lelecommunlcation rocms must be compleled, operational, end readl, for use by Governmenl's lelecomnrunications                    providsr The
lelephone closets shall be equipped wilh deadlocking lat.h bolt with a minimum throw if % inch and include a telephone ba6lboard

B.       Tolecommunicalions swilch roo4rs. wire closets, and relaled speces shall meet applicable Telecomrnunications lnduslry Associalion (TlA).
Electronic Industries Alliance (ElA) and NFPA slandards. Bonding aM grounding shall be ir accordance vvilh NFpA Slandard 70, NEC National
fleclriaal Code, and olher applicable NFPA slendards a:ic,ror local code requiremenls

3.35      TELECOMMUNICATIONS: LOCAL EXCHANGE AccESS (SIMPLIFIED) {JUN 2012)

A       The Governmenl res€rves lhe dghl to conuacl i{s own teiecommunicalions seNice In the spac€

B       The Lessor shall allow ihe Governmenl's designaled telecommunicalions pr(vidcrs access lo lliize cxisling Buidrng wkaoq lo aonnecl ils
seNices to lhe Governrnenls Space, or. if e(sling Bu:lding v/nng rs rnsufrlcienl. the Lessor siall provrde access tom Ihe pornl of enary inlo lhe
Build n9 lo lhe Government s lloor Space, subiect lo any inherenl lmilalions in lhe parhway rnvolved.

C      The l.essor shell altow thg Goveanmenl's desigaaled telecommunrc3lions providers lo affx telecommun.cations antennas lo roor. parapel. or
Eu ding envelope (access from the artennas to rhe leased Space shall be provided) and to affx trensmission devices in appropnale common areas so
as to allow the   lse ol   ce   llular lel€pho nes and   olier €me.ging technoiogies-




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3.35       LlGHTlt{G: INTERIOR ANO PARKING -SHELL {StMPLlFlEo} (JUN 2012)

A         oeepccllparaboliclouver2-0'widex{-0 long         flu       lig ht ng ixlures (or olher Building standard llxlures approved by lhe LCO)shallbe
                                                                 orascent
inslaled in lhe ceiling grid lor ax open ol{ice plan alrherate oi   lixlure perS0ABOAsq ff The Lesso. shall provide occrrpancy sensors andlor
                                                                       l
scheduling conlrols lhrough the burldin0 auiornation syslem lo reduce lhe hours lhal lhe lighls arc on when the Space is unoccupied end stlalt provide
daylrghtdrmmang conlrols in atriums or wilhin 15leet ot windows \rhere daylight can contrbute 1o energy savings

I         Sucn iirtures shall be capoble of paoducing a lighi level of 50 average maintained fool{"ndles at working surface height throughout the
Spac€ Tubes lhalllhen be remov€d to provide l) 30 foot-candles       in podions of work areas other than work surfaces and 2) 1 looi{andle to 10 foot-
candles. or minimum l€vels sufticienl tor sarely. in non-working areas. Exceplions may be approved by lhe LCO. When the Space rs not rn use by the
Govemme , inlerior and erlerio. lrghting. except lhrt essenliattor safety and seaunty purposes, shatt be tumed off.

C.     Adequate irghlinq al enlranc€s/exits. garages. pafiing lols or olher adjacenl aEas to the Building to discourage crimes against oe.sons shall
be provided. Exterior Building laghling must have emergency power backup to p.ovjde for safe evacuation    ofthe Buirding in case ol oalurat disaster.
power oulage, oa crimina14errorist activily.

3,37       INDOOR AIR QUALITY OURIT{G CONSTRUCTION (JUN 2012)

A          The Lessor shall provide to lhe Golernment malerialsafety data sheets {IVSDS) or other epp ropriale documents upo,r request bul pnor:c
rnstallaton or usefor lhe lollowing products. including bui nol limiled to. adhes,ves, cau king, sealanls, i,]sulaling materials, Ureproolng or llre stopping
maierials. paints, carpels lloo, aod wall palching or levelng maleflals. l!bricads. ciear linishes for wood surtaces. janitorral cleaning producls and
pest conlrol produrls

B.      The LCO may elimrnate from consideration producls w(h signi,lcant quantites ol loxic, flammablL., conosive, or aarcrnogenic meterial end
products with potentialfor hannlul chemical emissions. lvlalerials used oflen orin large quanlilies lvill receive the greatesl amouni of review

C           All IUSDS shall comply wilh Occupatlonal Sefety and Hea th Adminrslralion (OSHA) requirements. Tire Lessor and its agenls sha I comply
wrth sll recommended measures in the MSDS lo prolec! ihe health ard salely ofpersonnel

O.         To lhe g.eatest e ent possible. lhe Lessor shall sequ6nce the inslallaiion ol loish malerials so lhal materials tha! are high emitlers ol
volatile organic compounCs (VOCS) are installed and allowed to cure before inslalling intenor finish malerials especially soft materials lhal are wcven
fbrous. orporous n nalure thatrnay adsorb contaminants and release them over tim€,.

E          uJhere demolilion or consrructon work occurs adjacenl lo occupied Space. lhe Lessor shall erect appropriale barders (noise. dusl. odor,
elc.) and take necessary steps lo minimize interlerence rvilh lhe ocqrpenls This includas mainlaining acceptable ternpe.ature. huriidity. ard
ventilalion h lhe occupied areas during window removal, windSra/ replacemeol, or srmila,lypes ol work.

F          HVAC Cunng Construction ll air handlers 3re usad during construction. the Lessor shall provide llltration media wilh a Mirrrnum Efila ency
Reporting Valle (tulERV) ofeighl (8) al each retum airgrill, as delermmed by ASHRAE (Arnerican Society of Heatrng. R€frigeralion and Air-
Condironrng Engineers) (52.2-1999. HVAC Use During Cooslruclion). The permane.t HVAC syslem may be used la move both supplyand relum air
dlring the construclron process only I the Iollowing condihons are me1]

     1    A mmplere air liltralion syslem with 60 percenl etficjency fillers is install€d anj propedy maintained;
     2.   No permanent diftusers are !sed,
     3    No plenurn Iype retL}m ai. syslem is employed.
     4.   T:r€ HVAC dr.rcl sysiem is adequalely sealed 1o prsvent the sp.ead ofairbome paniculate and other contaminants: end
     5.   Following lhe Buildinq 'llush oul,'allducl syslems are vacuumed w(h portable high+ffciency padjo.jlale arestance (HEPA) vacuurhs and
          documented clean ln accorda,rc€ with NationalArr Dud Cleane.s Assocralion (NADCA) specifications.

G          F)ush-Oul Pro.edure

          A tinal llush-out pefiod of 72 hou/s minimum rs required alter installation of all inte or finishes and belore ocdJpancy of the Space. The
          Lessor shall ventrlale 24 hourg a day, with neu liilraiion media al 100% outdoor air (or maximum ouldoor air v/hile achievlng a telative
          humidily nol grealer than 6Co/")-

     2    After lh6 33ay peiod lhe spacs may be occupiedt iowever.lie f,ush-out mLst cootrr,ue for 30 days l6;ng the maxmum percentage oi
          outdoor arr consislenl with achieving lhermalcomforl and humidity conltol

     3.   Any devialron from thrs venlrlatlon plan mosl be approved by lhe LCO

          The Lessor rs required to provrde regula(y occlpied areas olthe Space wilh new air filtralion media b€fore occrrpancy lhal provides a
          l4inimum Elficiency Reporting V6fue (MERV) of 13 or oetter.

     5    During constirc.tion. meet or exce€d the recommended deslgn approaches ofthe Sheel Melaland AjrConditioning Naliona,Conlractors
          Association (SMACNA) IAQ Guideline for Occupied Bu ldings Under Constructioo 1995, Chapler 3

     6.   Protecl slored ons le and inslalled al)sorpii,/e male:i3 s ,rom moisture damalle




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 SECTION      4       DESIGN. CONSTRUCTION. AND POST AWARD ACTIVITIES


4,OI       SCHEOULE TOR COMPLETTON OF SPACE (SEP 2013I

Design ard consltudion activities for tl€ Space shall cornmenc€ upon Lease            award The Lessor     shatl sahedule the fotl('wirg activities lo achieve
timely conlplelion ot lhe work required by lhis Lease.

A    Lessor-Provided Desron lntenl Drawinqs lDlos): The Lessor rnust subm( lc 65A. as part ot the shelt co5t. comptete OtDs conlor rng to the
     requlremenls of thls Lease and other Govemment-supp ied informalion related io the lenant agency's inlelior build-oul requiremonts not teler
     thsn 7 Calendar ozys tollowing the Lease Awarc, Dat6, provided thal the Govsrnmenl supplies such informalion and direction as reasonably
     requrred ,0, Lessor lo |mely complete DlOs The Governmenl (GSA and the lenant agency) shsll atlcnC two meetings al lhe Lessor's ,equesl for
     lhe purpose of provrding informalion and drecton rn llre development of DlDs The Lessor should antcipate at least two submissions of DlDs
     belore recervng approval Al the sole disc/elion ol the Governmenl, lhe Lessor nay be required lo submit a budget proposal based on lhe Tls
     and associated woi( as shown on ihe OlDs This budlet p.oposal shall be completed ,,vilhin 7 CnlendAr D6yS ofthe Governmenl's requesl.

B    OlDs. For the purposes ol lhis Le6se. OlDs are derined as lully dirnensioned d.awings of lhe ieased Space lhat rellect all Lease requiremenls
     provided by lhe Govemmenl sulficjenl for the prepa.ation of construclion documents iC0s), including. bul notlirnited tol

     1            Geneftc lurnilure layoul, wall. door. and built-in millwork loc3!ons,
     2            TelephorE. eleclrical. and daia outlel lypes and localionsi
     3            lnlormalion necessary forcalculetion oteleclrical and HVAC loads
                  Work relaled lo securily r€qLriremenb; and
     j            All ,inish selcclrufs,

C.   Government €vrew and aooroval of Lessorprovided olDs: The Govemment must noliry the Lessor of DID approval not laler Ihan 14 Calendar
     Da)/s followrng submiss.on o, DlDs coifofining to lhe requiremenls
                                                                     otlhis Leas€ as supplied by the Government. Should lhe DlOsnol conrorm lo
     lhes€ requiremenls, lhe Govemment mLEt ootify lhe Lessor of such non"confcrman@s w'thin the s3me peaiod; however, the Lessor siall be
     rcsponsible lor any delay lo approval o, DlDs occasloned by such no+coilormance. The Govemfients review and approval of the Dlos is
     limrted lo confomance lo lhe specifc requiEments olthe Lease as lhcy apply lo         lr
                                                                                      Space.

D lhe I essois      oreoaraiion and sebmission of construction doclmenls (CDs): The Lessor as paal of the Ti must complele COs conlorming to lhe
     approved DlOs not laler tha. 14 Calendar Days iollowng llte approval of OlDs The pncing for this r./c.\ is,ncllded under the AJE fees
     eslablrshed under Sectron 1 ofthe Lease {fduring the preparalon of CDs lhe t.essor beconres aware that any malerbl requirement indrcated i,r
     lhe approved DlDs cannot b6.easonably €chievod, th€ Lessor snarl prornpuy )ti[y GsA, and shall ncl proceed with complerion otcDs unlil
     drreclion rs received from the LCO. The LCO shall provide direclion wrthrn 14 Calendar Days oI such notlce, bul lhe Governmenl shall not o€
     responsible for delays to completron of CDs occasioned by suclr crrcumstances Forthepl,lrposeolthisparagraph,a'mate,iaIr€qukem6nI'sfull
     mean any requiremenl necessary for lhe Govemnenls intended use of lhe Space as provided for in. o. reasonably interable kom, the Leas€ and
     lhe approved DlDs (e.9. numbe. ofworkstalions and requi.ed adjacencies).

[.   Governmenl review of CDsi The Govemment shal] have 21 Calendar Days lo reriew Cos before Lessor proceeds to preparc a Tl pnce proposal
     io. tne work described in the CDs. Al any llme during lhrs period of review, lhe Governmenl shail have the right to require lhe Lessor to modify
     the CDs to enlorce confotmance to Lease requiremenls and the apcroved D Ds.

F,   ]IITENTIONALLYDELETED

G    INTENTIONALLYDELETEO




I    INTENTIONALLYDELETET)

     Conslauclion ofTls and complei on of othe, reouired coxsl.uction rvork: The Lessor shallcomplele allwork required to prepare lhe Premises as
     requrred in this Lcase ready for use not later than 120 Cale.dar Days following issJance of NTP.

4.02     GREEN LEASE SUBI'ITTALS (SIHPIIFIED} (JUN 2012}

Tr€ Lessor shall submil   !o the LCO:

     Producl data sheets for lloor coverings, paints and wall coverings. csiling mat(,ials ail adhesives, wood producls. suite and rnt€rio. doors.
     subdividing pa(tions, wall base door hadwa.e finishes, window cove.ings, milwork substrale and millwork finishes. lighting ano llghtng
     conlrots, and insulrtion to be used within the leas€o Space. This inlo.mation xrusl be submilled NO LATER THAN lhe submission oflhe DlOs

6    [,laleria] Safcty Daia Sheels (tv4SDS) or olher appropriale documenls upon requesl ior products listed in lhe Lease.

C    Pe us-c plan rcquircd in accordanc€ wilh the "Existrng   F   rout, Salvaged, or Re-used Build ng ilslerial' paragraoh   in the Lease




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 D    Any waiver needed when not using malerials from lhe CPG and RI\4AN lists ot acceplable prodlcls rn accordance wlth the 'Recycled Conlent
      Products" paragraph o lhe Lease.

 E    Radon lest resulls as may be required by the -Radon in Air' and "Radon in Waler' in the Lease

 F    li renelvaDle source power is purchas€d, documenlalion wilhin   I   months ofoccupancy

 4.03     CONS'TRUCT|ON SCHEDT LE          ArD rNllrAL CONSIRUCnON MEErlNG (StMpLtFtED) (SEPT                  201.1)

Ljpon request by the Lease Coolracling Oflicer, lhe Lessor shalr fumish a detarled conskuclion schedule to the Governmenl within live working Days
The Lessor shall affange the anilial Consttuclion Mceling and shall k€ep m€slino Lninutes oi djscussion ropics 3nd attendance tor this end a
subsequenl meeirnqs.

4.04      AccESS PR|OR TO ACCEPTANCE OF SPACE (StMPLtFteDl (ApR 2011)

Slbjecl lo lhe Lessor's perfiission. which shall nol be unreasonably withheld. lhe Gr,€rnment or ils contraclors shall have access to the Premises
pricr lo acceplance oi lhe Space :o prepare the Space tor oclupancy lf lhe worh Io be compleled by the Gov€rnmenl is a prer€qursile for lhe
rssuance of a Cerlrficale of Ocorpency. or ils equivalenl. the Government shall be eilitled to at ieasl 10 Wofting Days lo complete work by ds own
conlractors

4.05      CoNSTRUCTTON TNSPECTTONS IAPR 2011t

A.       The LCO or lhe LCO'5 designated lechncal represental,ve may periodicaliy inspect conslruclion            wo    to review co pliance with Lease
requiremenls and approved DlD5.

B          peftodrc reviews. wilnessing of tesls and rnspections by lhe Go!€rnmenl shall nol consftule approval of lhe Lessols apparent progress
loward meeting lhe Govemment's objectives but aro rnlerded to discrver any info.m;uon which the LCO may be able to call to the Lessor's allenton
le prevefi costiy misdireclion of eforl The Lessor shall remain responsible Ior desiOn ng, constructing, oporating. and mainleaning lhe Eorlding in full
accordance wilh lhe requiremenls oI lhe Lease

4.05      ACCePTANCE OF SPACE ANO CERTTF|CATE OF OCCUPANCY (S|MP!tFtEOl {JAN 2011)

The Governmenl shall accept the Scace only ,{ lhe .onslruction ot bLrilding shell and Ils conforming to this Le:se and lhe approved t)lDs is
slrbslantially complete and a certilicate o{occupancy (or its equivalenl) has been,ssuel. Ihe Space shall be considered stlbslanlially complele lh6
S pace ,nay be used lor ,ts lnleoded purpose and completion of rem aining wo rk wil n ol u n reasonably interfere w( h the O overnmefll s enjoymenr ol lhe
Space. Accepianc6 shali bo jinal and binding upon the Government q/ilh respect lo c)1{ormance o{ the completed Tls lo the approved OlDs. with the
excepUon oi lelenl deleds orf.euC bL.lshallnol relieve ihe Lessor ot any olher Lease rsquiremenls

1.07      LEASE TERM COMMENCEM€NT DATE AND RENT RECONCILIAIION (SIIVPLIFIED) IJUN 2012)

At acceptance. lhe Space shall be measu@d in accordance y/nh trl€ siandards sel lorlh in t5ls Lease to delermine the lolalABOA SF in lhe Space.
lJhich, logetner wilh the CAa established in Exhibil A. GSA Form 13 C. willyiold tho lolal Rentable Area ol lhe Premises The rer,l lorlhe Spacewill
be adjusted based on lhe measured ABOA square toolag€ for the purpose o, adlusting lhe anoual renl. At acceptance. ihe Lease term shall
comoenco. The Lease Term Commencement Dats, tinal rneasurement of llE Premises, aeconcjliation of lie annu3l rent. and amouol ot Commssion
Credil if any. siall be menonalized by Lease Amendment.

4.08      AS.BUILI ORAWNGS (JUN 2012)

Not later than 60 days aier lhe acceptance ol the Space, the Lessor, at lhe Lessols expense. shall lumish to the Governrnent a complele set of
CompulerAided Design (CAD) files ol as-buill floo, plans showing lhe Spac! under Lease, as wellas corridors, starrways. and ccre areas. The plans
shall have leen generated by a CAO program which is compatib,e wrth tf]e lalesl rel€ase ofAuloCAD The requfied lile exlension is " OVVG' Clean
and purged liles snall be submilted on CD-ROM. They snall be labeled wilh Buiidin0 name. address lisl o{ drawing(s). date ot the drau,ing(s}. afij
Lessoas arch(ect and architecl s pho.€ number The LessoCs operator shall demonsrate the submission on GSA equipmer{. ii req.resled by lhe
LCO

4.09      SEISMIC RETROF|T (SEP 2012)

me lollowing requiremenls applylo leases r€quking seismrc retroft:

A.       The Les6or shall provide a ,inal construclron schedule, all linal design a)d consttuclion documenls lor lhe seismic relrolil, induding
                                                                     fo
struclurai calculations, drawings. and specifications lo the Governmenl  evrew anc approval prior  b th€ stad o, construclion v0ren requrfed by
tocelblilding code, a geolechnical€port shallbe made availablelo lhe Govemmenl

B         TIe Lessor's registered civjl or strucfural engtneer shall perform special inspeclions Io meet the rcqurrements          ol Chapler 17 of lhe
hlernationalBujld ng Code (lBC)

C         For leases requiring seismic relrofit. lhe space will not be considered subsranlially complete llnlil a Seismrc Form E - Certiricate Oi Seisiric
Compiianre Relrofitted Buildng. cedifying thal lh€ building meets thc Easic Safety objective of ASCASEI 41, execuled by a registered civrl or
slructural engineer, has been deli1€red to 1ne LCO




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 SECTION       5       TENANT IMPROVEN,IENT COMPONENTS


 5.0'1      TENANT IMPROVEMENT REOUTREMET{TS {SllYpLtFtEO) (JUN 2012)

:he Ils   shall be d€sgned. constructed, and mantarned rn accordanc,e wiih the slandards sel to(h in this tease. For pricin!, luliilhenl ol ait
requirernenls desi9naled aS Tls within this section or designaled as Tl u/itnao lhe attached Agency SpeCific Requirements and S€curity Requirements
shallbe deemed lo be Tl costs

s.02     FrNrsH SELECTIONS ISTMPLtFTEO) (JUN 2012)

fhc   Lcssor musl consull wilh lhe Governmenl poo. io developing a minlr:1urn ofthree i3) fnrsh optons to tncludc cocrdinaled samptes of fnshes for
ailmterior elemea6 such as paiol, wall coverings, base coving, carpet. ryindow taeatments, taminales. and flooring. Atl samp{es provided must compty
with specjficatons Se! fo.lh eisewhere in this Lease. AU reoured finish optron sarnples must be provide!, ai no additionat cosl to the Government
vtrlhin 5 lvorkrng Days lhe initial submissron of DlDs. GSA musl deliver necessary tinish seiecirons 1o the Lessor wilhin 5 Wcrking Days after receipl
ofsamples. Ihe finish options musl be approved by GSApnorto installatior. The Lessor may nol make any substitutions aierthe finish option is
seiected.

5.03        WlNoOW COVERTNGS {SIMPLtFtED) (AUG 2011)

A,l €xterior windows shall be equrpped wilh window blinds in nev/ or lii(e ie\,/ .onditjon, 3s approved by the Government

5.04        DOORS: SUITE ENTRY (JUN 2012)

Sute eniry doors shall be prov)ded as pan of the Tls and shall have a rlinimum clerr opening of 32'\ride x 84" h gh (per leao ooors shali meet ihe
requirements ol berng a flush, solid core. 1-3/4rnch thack. wood door with a nal/al wood ve,16er fac6 or an equivaleol ple approved by the
Gcverfinenl Hoilow core.,ood dools are notacceptable. They shallbe operable by a srngle efio,1i and shallm6et lhe requkemeni ol NFPA 101. Life
Safely Code or lhe hrlernalionalBudding Code (cu.renl as oi lhe award dale ofthis Leiise). Doors shaltbe instalted in a metattaare assembty which
is primed and {inished w th a low VOC sem:-gtoss oit-based peintinlsh with no lomatdehyCe.

5.05        OOORS: INTERIOR {JUN 2012)

Doors wihin lhe Space shallbe provided as pan ofltre Tls and shall ha!€ a minimum clear openrng ol32',"vide r 80' high. Doors shall be llush. so|d
core, wood with a nalufal wood veneer fac€ or an equivalenl door pre-approved by the LCO Hollow core wood doors are oot acceplable. They shall
be operable wilh a single effort. and shall rneet ihe requirements ol NFPA 101 Llie Safely Code or the lnternalronal Building Code (currenr !s of the
award dale oJ lhrs Lease) Doors shal be installed in a motal frame assembly vrhich ls pimed and fanished wi{h a low VOC semi{loss oil-aased painl
Yrilh no fomaldehyde

5-06        OOORS: HARoWARE (JUN 2012)

Doors shall have door nandles or door pulls with heawweighl hinges The Lessor is encolraged io avoic, lhe use ol chro.ne-rlaled hardware All
dco.s shall have correspondir€ doorslops lwall- or floo.mounted) and silencers All door enlrances leading inlo the Space trorn pub|c coridoG and
exterior doors shall have aulornalic door alosers Dools designaled by ihe Government sha I be eqlripped with 5-prn tumbrer cylinder locks and sl(ke
plates Ail ]ocls shallbe master keyed. lLrlnish at leasl lwo masler keys for eACh locl lo lh€ Government. Any sxlerior entrafice shall hav€ahigh
securily ocl, with approp.iate key convol Drocedurea. as determined by Govemmenl specilicalio.s- H nge pins and hasps $h6ll be secured agaanst
unaulhonted removal by Lrrng spot welds or pinned mounting bolts The exterior sid€ of lhe door shall have a lock gua.d or astragal to pr€vent
tampenog ol lhe latch hardware. Doo,s used for egiess only shall nol have any operable exterior hardware All security-locking anangements on
d.o.s uscd tor egress shal! cofipiy wrlh requrrements ot NFPA101cr lhe nlernationalBuilciing Code cur.ent as oflhe awad dale ofthis Lease

5.07        DOORST IOENTIFICATION IJUN 2012)

Door rdentilicalion shall be inslalled in approved localions adjacenl lo ofrice enhances as parl of the     Tls.   The form of door ;denlificalion shall be
apptoved by tr€ Government.

5   08      PARTITIONS: SUBDIVIoING (JUN 2012)

A.        Offce subdividing parlit{ons sirall comply with apphcable buila,ing codes and Ioaal requirements and odinanaes and shall be proMded es pan
olthe Tls. Partitroning shallextend to lhe finished floortolhe fioighed ceiling and shallbe designed lo provide a mrnimum sound tGns,nisgon dass
(STC) 0140. Padlioning shall be i.slalled by the Lessor al loc?lions lo be detemined by lhe Govemment as idenlifred rn fie DlDs They shall havc a
flan're spread reling of25 or less and a soole development rating of 50 or iess (ASTM E&)

B.       HVAC shall be rebalanced and lightrng reposdtoned, as appropriate. after inslill,ation ol panilions.

C       ll inslalled in accordance wilh lhe "Automalic Firc Sprink er System'and "Fire Aiarm System ' paragrap hs. sprinklers and lire alarm notificatron
appiiances shellbc repositioned as appropriate aner inslallalron ol pantions to meintar the leveloffire prolection and life safeiy.

D        Padilioning requremenls may be salisfied with g(ising parliliorls if   fiey meet lhe Government s standards and layoul .eq,rirements

5.09        WALL FTNTSHES (JUN 20r2)




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 lf lhe Covemment choosos to inslall a wellcoverings, the minimum slandad is vinyl.free, chlorine-free, plasticizer-free wall covering with recycled
 ccnlcnl or bro_based commerciai wa ll covenng weighing not less lhen 13 ounces p6r sqlare yad or equivalenl lf the Governmed chdses lo instal a
 high'pedormance raintcoatino, rt shattcomply with lheVOC timits of lhe Green Seal Standard GS-11.

 5.10       PAtt'tTtNG   -   Tr (JUN 2012)

 A.     Prjor lo acceptance. all siu{aces within lhe Space which are designalsd by GS/\ for painling sha| be new{y   in shed rn cotors   acceptabte lo ihe
 Governmenl

        The Lessor shall p rou de inlerior paints and coatings that meet or are eqorvalent 10 the follorr'ng standards for VOC ofl gassing;
        1   Topcoat paints: Green SeatStandard GS-11. painls. Filsl Edition. [,tay 20 1993
        2   All olh€r architeclural coatings. pramers. 3nd undercoats: South Coast Air euality t\ranlgement District (SCAQMD) Rute 11r 3
        Architeclural Coalings, effeclive January 1, 2004.
        3.  Archilecli/ral paints coalings. and pnmers applied ro interjorwalts and ceijngs:
                    a   tlals. 50 grams p€r'ike (g/L)
                    b   Non-tlals: 150 g/1.
        4   A.rlirorrosive and anti,rust paints appled to inte.ior le.rous metat substrales: 2S0 g/1.
        5   Cl€ar wood linishes:
                   a Varnish: 350 g/i-.
                   b Lacquerr 550 g/1.
        6.  Floor coalings 100 g/L
        7.  Sealers
                    a     Waterprooting sealers: 250 gl'-
                    b.    Sanding sealersr 275 g/1.
                    c.    All other sealers: 200 g/t.
        8. Shellacs:
                    a     Clear: 730 9./1.
                    b     Pigmented: 550 g/L
        L  Slainsr 250 SIL

C      Uso ,eprocessed lalex painl in acacrdance with EPAs CPG ( on all painted su.faces where        f€asibte ;he type ot painl shalt be acceptabte to
lhe Govemmenl

5,1'        FLOOR COVERINGS ANO PERIIVETERS {JUN 2012)

a.      Broadloorr carpet or carpol liles sball meel lhe requiremenls set forlh in lhe sp€clicrtions below. Ftoor p€nmeters at panitions shatl have
wood rubber, !,rnyl. orcarpel Sasc. Floorcovedng shallbe installed in accordanc€ with manufacturing instructions to lay smoothly and evenly

B       Th€ use of eristing carpel may be approved by lhe Govemment, however, e)iishng caF€t shall be repai.ed. stretchec,, and cteaned before
occupaflcy 3nd shall meet Lne static buildup requiremenl as slated in the specifications b6low

C      Any allenrate iooring shallbe pre-approved by the Govemmenl

O      SPECIFICATIONS FOR CARPET TO BE                 NE{LY II.ISTALLEO OR REP'.ACEO

             1, Product sustainabililv and envnonmenlal reo u item ents. In otdcr to acjrieve superior p€rformanae n multiple envraonm€nlal atlribute
areas .3rpet must have thkd parly cenificalion io accordance wilh ANSI/NSF 140 2007e Suslainable Carpsl Assessment St6ndard at a "Gold" level
mrnrmum Carpel manulaclurer musl supply cerlifcale rs parl ol the procurement docunontallon

             2      Recvded conlenl Recycled ccnleii is measured by lolal producl weighl of pre-consumer and/or posl consurner materials

             3.   lowemillinomaterials.'fiecapetandllooradhes;ve(forglueiowninslallaliongimustmeeltieG.e€nLabel Plus (GLP)androor
adhes,ve (for direcl glue down) a€qu,rements of lhe Caeel End Rug inslitute (CRl). GLP number must be provided. Carpet and all installalion
components including adhesives. sea,ers, seam welos, and seaao sealers musl meet the l-ow amitling Maleflals standards as outlined in U.S Green
Building Couniil LEEO cnleria adhesives musl me€t VOC content slandards perSooth CoastAirQuality Management Distric! Rule#1168.

                                 conlenl     Face yam must be 100% nylofl  llber Loop Pile slrall be 100% Bulk Contjnuous Filament (BCF)] cul and loop
shallbe 100%     BCL- lor the loop portion and may be BCF    orslapie forlhe cut portron, .ut pile carpel shallb€ slaple or BCF

             5      Perfonnanc€ requiremenls for broadloom and modular tile

Slal&: L€ss than o, equa{ to 3.5 kV when lested by AATCC Tesr lverhod 134 lslsp Tesl Oplion)
Flammabilitvr Meets CPSC-FF-1-70 OOC-fF-1-70 l\rethenamine Tablet Test cntena
               nl Panel Tesl N4 eels NFPA Class I or 1l depending upon occupancy anC ,ire code when tested unde. ASTM E-648 tor glue down
inslallation
Smoke OensiN NBS Smcke Chambe. - Less than 450 Flaming Mode wnen lest€d under ASTM                E{62
                    NOTE: Tesling mlst be perfofined in a NVLAP eccreciled laboralory

             6     Texhfc Arceara.ce Relent,on R?tinq ITAqR) Carpel ni!]sl nreel TLRR ratrngs speciiicd irelovl




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                                I   Space Defin tion
                                                                                          Classificaiion      Classrication
                                    Private Otfices                                                           .3.0 IARR
                                    frarning conference, co!r1,ooms, clc                                      :3.0 TARR
                                        n Office caretena, coffidors, lobbres             Se!ere              > 3.5 TARR

                    The ca.pel musl be evalualeC using ASTM D-5252 Hexapod Orum                T.sl as per lhe commercral caDel test procedure and the TARR
                    classi{oalion delemmed using AST[1 D-7330.

                                            .qedamation oi exisirng carpel lo be detemined lvilh polential vendor. When carpet is replaced, submit
cerlification documenlalion trom lhe eclamation ,aciltty lo the LCO.

               8.    vvar€,rly. Submil a copy of lhe manufaclurels standard wa(anty to ihe LCO withrn the first 60 days of Gove.nment occupancy
The Governmenl is to be a beneiioary ofthe       tems otlhjs r./aranty

5.',12    HEAnNG AnlD ArR CONOTTTONTNG {JUN 2012)

Zone   Contro Provde indivdual thermoslat conlrol for ofllre Space with control areas nal to exceed 1.500 ABOA                 SF
                                                                                                                         lnlerior spaces nrust be
separalely zoned Speciahy occlpafcies (confercnce rcoms. krlchens, elc.) must hav€: ,ctive controis capable of sensing Space use and modulatng
I]VAC system    jn response to Space demand. Aaeas thal roulinely havc e(cndcd lours ot operation shall be envrronmenlally controlled Ihrough
dedicaled healing and air condiloning equipmenl. Spesal purpose areas (such as photocopy cenlels large conference rooms computer rooms, elc.)
with an inlemal cooling load in ercess ol 5 tcns shall be independeotly controlied Proede ccBcealed pacl€ge ar conditioning equipment to meet
localiaed spol cooling oflenant speoalequipment. Porlable Spaae healers are prohibited

513       ELECIRICAL: OISIRIAUIION (.lUN 2012)

A.       AII electr,cal. telepirone. aM data outlets wilhh lhe Space shall be installed by lhe Lessor in accordanc€ with lhe DlDs. All eleddcal outlels
shall be insialled in acco.dance wilh NFPA Standard 70.

I        All outlets within lhe Space shall be marked and codec for easa ol wire tra4i,igt oullets shall be crcuiled separately from       lighling All floor
oullets shall be llLrsh wilh the plane ot lhe tinished lloor. Oullel cover colors shall be coordinaled wilh panilon nnlsh selections.

C       The Lessor shall in ail cases safely conceal oulets and associated wning (tor electricity, voice, and data) to the workslatjon(s) in partilions,
cellng plenurns, in recesseC floorducls, under raised flooring. ot by use o{ a method acceplable to the Governmenl.

5.14      TELECOMMUNICATIONS: uS'TRIBUTION AND EQUIPMENT                        (J   UN 2012   )


Telecommunicalions lloor or!!alloulleE shallbe provrded as pa( of the Tls Al a min rnum. each outlel shallhouse one 6-pakwire iackfor voice and
one 4'pa;rv,/rre jac* ior data. Ifle Lessoa shall ensure th?i alloullels and assocrated ulring, copper, coaxralcable, oplicaltiber, or olher transrnrssion
medrum lsed lo 1.ar6mit telecommunications (voice. dala. video, lnlernel. or other emergrng technologies) servrce lo (he workstatior shall be safely
conceated under raised rloors. in floo. ducls, walls, columl6, or moldrrlg. All outlelslunclion boxes shall be provaded wilh ings and puJ! stnngs lo
iacihtale the nstallation ol cable Son"e lransmissjon medium rnay require specjal conduit, inner ducl, or shielding as specilied by lhe Govemment.

5.15      TELECOMMUNICATIONS: LOCAL EXCHANGE ACCESS (AUG 2008)

Provrde sealed mnduit lo house lhe agencl lelecornmunications system when required

5.15      OATA D|STRTBUI|ON IJUN 2012)

 I rlo Lcr.lr rhdrl Ul rsrplfl.rLrI' ler p!,ehrrring onn iqrldrling dar @ble. Tho Lo.6oi Ehell 6€i€lI oonGer d€1a calrct. .nl lhe a+.ocir!+d *ning s.ed
tc transmitdata toworkslalions in floorducls walls. colrmns. or below access lloorin!1. The Lessor shall provide, as parl oflheTls. outlels with nngs
andpull skings to laciltale lhe rnstallat{on oilhe data cable. When cable consisls cfmultple runs, the Lessor shall provide ladder type or olher
acceptable c3bletrays lo prevenl Governmenl provided cable coming into conlacl t$ll. suspendeo ceilngs or sprinkler piping. Cable trays shalltofit a
roop around the peimeler ol the space such that lhey are wilhin a 3ojool ho.rzonlal dislance ol any siogle drop

5.17      ELECIRICAL, TELEPHONE, OATA FOR SYSIEIYS FURNITURE (JUN2012)

A        The Lesso. shall provrde as part of rhe Tls separele dala, telephone, and electric junction bo)(es for lhe base teed conneciions to Gover.menl
provrded modular or. tyste.ns furniture, when such feeds are supplred via wSll outlets cr fioor penelralions. VVh€n overhead ieeds are used, junction
boxes shall be instalted lor eleclrical conneclions. Rece!€ys shall be provided throuOhout lhe fumilure ganels lo dislribute lhe elect.ical, telephone.
and dat6 crbte. The Lessor shall provid€ ait elect.ical service wiring and conn€clions to fie lurniture al designated junction poinls. Each electrical
junction shall conlain an 8-wire feed consist.g o, 3 general purpose 120-V carculls u,ilh 1 neutrel and 1 ground wire, and a 120'V isoEled grolnd
           l
c,rcuit wll neutr3land l isolated ground wire A 2o-ampere circuit shell have no more lhan Sgoneral gurpose receplacles or 4 rsolaied g,ound
'
  compule'/ receplacles

I       The lessor shall be responsibte lor purchasng dala and lelecommunrcalions Dable. Said ceble shall be inslalled and conne.led lo systens
furn ure by the l.esso.,/conkaclor wilh the assislance and/o. advice of the Govehmerl or cornpuler vendor The Lessor sirall provide wall mounled
dala and tetephone iunclion boxes. which shalr ioclude .ings aid pull slrngs to facililale lhe inslallat'on ol the dala and telecomrnunications cable
U,ten ca.te consists ol mulliple runs. the Lessor shall provide ladder-lype or olher acceptable cable lrays lo prevenl Gov€rnment provded cable




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coming into contacl wrth suspended ceilings o. sprinkler    pjping Cable tlays shall fo;m a loop around the perimeler ol the Space such thal thcy are
wrthrn a 3o-foot horizonla distance o, any single   drop   Sard   crble lrays shall provide access lo bolh telecommunications data closets and lelephone
closets.

C       The Lessor sha I lurnrsh and install sutably sized llnclion boxes nea. lhe leeding points" ol lhe fumilure panels All 'feeding points shall be
shown on Govemmefil approved design inlenl drawings The lessor shall lemporarily cap off lhe wiring in the tuncton boxes untr, the ,umfure as
irstalled. Ihe Lessorshallmake allconnectons in lhe power paneland shallkeep lhe circuit breakers          otl
                                                                                                             The Lessor shall identrl] ea.rr circuitwilh
the Sreaker number and shall idenliry lhe compuler hardware to be connecl6d lo it. The Lessor shall adenlify eech brcaker at the pansl end identify tl€
devrces lhal it seN€s.

O.      Ihe Lessor's electrical contraclor must connecl power poles or base feeds ii Lhe junclon boxes to the tumjture electicalsystem and lesl all
pre-wred recepteces n lhe syslems furnitLre. Olier Government conlractors will be instal,ing the dala cable in lhe furniture panels lcr lhe termrnal
a.d pnnler locations. nslailng the connectors on lhe le.mlnauprinle. ends o, lhe cabLe. and continuity 1es1in9 each crble Wofi shali be mordinated
and perlormed in conjunc1ioo wlti lhe fumitute lelephone and dala cable installers. Vuch oflhiswork may occurovera weekencj on a schedLrle lhat
requr.es llexibilily aod oo-call vis|ls The Lessor must coordrnale the applicatron of Ced ication ol Occupancy with fumilure inslallalon

s.18       LIGHfING: INTERIORANDPARKING-Tl{SIMPLIFIED)lJUN20l2l

A.     Ooce the des€n inlenl drawings are approved, the Lessor shall design and provide intenor lightiog yielding a unrtonn 50 foolrar)dles al
*orkiog surface helgh{ (3C" abo\€ he noorl. Any addilronal fixtures required beyond lhe ratio staled under lhe "Lighting. lnlerior and Parking' Shell
(Simoldied) parag€ph in this Lease arc pa( ofthe Tls.

B.     There may be additional requirements lor lighling in extenor parking areas v€fid€ drivewayg, pedeslrian walkways        a.d Building peimeler in
lhe Secur{y Req!iremenls altached 1o this Lease




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    SECTION      6     UTIIITIES, SERVICES, ANO OBLIGATIONS DURING THE LEASE TERM

    6.01      PROVISION OF SERVICES, ACCESS, ANO NORT'TAL HoURS (SIMPLIFIED) {JUN 2012)

    The Governmenl's normal      iolrs of operalons are eslabllshed as 7:00 AM to 12:00 41, ironday thru Friday and 8100 AI\4 to 4:30 pM on Saturdeys.
    with lhe exceplion of Federal holidays SeNices. mainlenance, ard ulililies shall be prc,vided dwng these hours. The covernment sha have access
    ro lhe Pramrses and ils Appurle,Bnt Areas at all times wilhoul addirional paymenl. 1n:luding the use, during o|ner than nomal hours, ot oecessary
    services and ulilities such as elevators. resLooms, ,lghts. and eleclflc powe. Cteaning Shait be perlormed during normal hou|s

 6.02      UTILIIIES {APR 201'1)Ihe Lesscr is responsible Ior providing all ulilrlies necessary fo. base Building and tenant operalions as pad of lhe
 renlalconsrderalion.

 6.03         INTENfIONALLYDELEIED

 6.04        UTtLtW CONSUMPTTOII REPORT|NG {JUN 2012)
 Upon requcst from lhe Lease Conlracting Offcer or Conlracling Offceas Rep(esenlrtive, rhe Lessoi shall provide regutar qua(erty reports of the
 arnour'i ol al utli(ies consumed at the Buildjng in rnonthly detaii {or the dur.tion of lhe Lease These reports musl be provided wilhir 45 i,ays of the
 end ojeach quaierly penod and shallbe in eitherwnl:enor eleclrcnic form as requesled oy lhe Governrn enl The repons shaitconlain the numb€; ol
 eclual units consumed lf reporls are available delailing only lhe Gove.nments consumplion. then lhe repo(s shalt be iimited sotely 10 the
 Govemmcnt's consumption Additonally s3id teports shall rndicate. for each utilily being ,eporled. lho use of lhe speofic rJlility. For example
 elecl.icrly consumplron shall indrcale if it includes heating or air condiloning, and rf so. whelherjust difiuse.s or diftusers and heating aro rnctuded n
ereclricity consunrpllon

6.05         HEATTNG ANO ArR CONOTTIOXING (AUG 2011)

A.        ln all offic€ areas, lemperelures shall conform lc local commercial equviltent lempetalu.e leveis and ope|'attng practices in ord€r to
mar(imize Ienanl salisfadion. Thes€ teanperBlures shall be mainl,ained Ihroughoul lle leased Premises and sen/ice areas, .egardtess of orlside
temperatures. duor€ ihe hours o, operat'oo specified in the Lease. The Lessor shall peffofi any necessary syslems start-up requircd tc meel lhe
commercially equivalent iemperature levels priorlo the lllst hour ofeach day's operafifi Alallimes, humidily shal,be mainlalned belos/ 60% retative


B.       ouriig nonwoaki0g hoors. healiag lempe.atures shallbe set no higherlhan 55'Fanrenhert, and air conditioning shall not be provided e)(cept
as neressary to reiurn Space temperaiures to a slilable level lor lie begjnning o, working tlours Thermostats shalt be secured fom manlal
ope.anon by kcy or :octed     cage A key shall be provided lo the Go\emment            s desiqnatp_d representative   .



C.           Themalaomlod During al,wo*iflg hoors. comply'.!ith ASI"IRAE Standard 55-2004, ihermalComforl Conditions lo, Human Crcupancy

D            Warehouse or garage areas rsqvire heating and lenlilation only. Cooling of lhis Space is not required. Temperalure of warehouse or
garage areas shallbe maintained       a1   a minimum of   50'   Fahre nheil.

E         'rhe Lessor shall conduct HVAC system balanciflg afrer any HVAC systenr alte€lio s duing ttre term of the Leaso and shall rnake                       a
reasonable attemptlo schedule rnaior conslruction oulside ol omce houc

F.           Normal HVAC syslems mainlenaoce shell not dis rupt tenant operatons

6.06         OVERTTME HVAC USAGE ISIMPL|TIED) {SEPT 2011)

A            lflhere15iobeacha.O€forheatingorcoohnooulsideollheBuilding'snorrna                    hours, such services strattbe provided al lhe houdy ratcs set
forth in   ErhibilA GSA Form 1364C. Ovedr.ne usage se.vices niay               be oadered by lhe Govemments aulhonzed representairve onJy

B.          Whenthe cost ofse.uce is 53.000 orless,lhe service may be oadered oral\'. An invoice shallbe submitted lothe offioalpjacing the o.der
lor ce(ificalion and paymenl Orders lor se.vices costing more tha^ $3.000 shallbc plaaed using GSA Form 300, Orderfor Supplies or Servrces. or
olhe, approved servce leqursilion prccurerne n1 documenl. An invoice conforming lo lhe requiremenG olthls Lease shellb€ submilted to the official
placlng th€ order for cediicalion and paymenl.

C.         Farlurc to subfiit a proper invoice within 120 days of providing overtlme utriies shall conslilule a waiver        oflhe Lessor's righl to recsrve any
payinenl,/cr such ovenime ulilties pu6uant lo lhls Lease

6   07       JA\TTORTAL SERVTCES UUN 2012)

The Lessor shall mainlain lhe Premises and all areas ol lhe Properly 1o which the Govemmenl has rortine access in a clean condi,ioi and shatl
provide supphes and eluipmenl for lhe lelxl of lhe leas€ The follorving schedlle descnbes the level of services intended. Perforianc€ will b€
b8sed on llre LCO s evalua$on ol results. notthe freqlehcy or method ofperformance

A      Qalt. Emply lrash receptacles Swe€p entrances. iobbies. and corridors Spol swee.9 floors, and spol vacuum carpels. Clean drinking
Iountains Sweep and da.np mop or scrub restrooms Clean all reslroom flxlLrres. aod replenish reslroom supplies Dspose ol a[ trash and garbage
generatec in or about lhe Bu ding WaEh inside and oul or steam clean cans used for colleclion of lood emoants from snac* bars and vendlng
macnines Oust hoozontal su.faces lhal are .eadily avarlable and visibly require du$ n9. Spray Suff resrlient floors in main cor.idors. ertrances, and




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 lobbies Clean elevalors and escalalors. Remove carpet slains. Police sidewalts- Farkir€ areas. and driveways Sweep load,ng do€k areas and
 pialforms Clean glass enlry doorc    to the Space.

 B          Three limes a week. Sweep or vacuum slarrs.

 C          U&9!1y Oarnp      nop anj spray buff      att resitient fico.s rn reslrooms and   i€atlh units Sweep sidewatks. parkrng areas. ard driveways
 (lveathe. pe,m ling).

 D           Every two weeks Spray     tuft resilienl floors rn secondary conidors, entlant€. and lobbi€s Oamp mop and spray buft hard a.d resitient
 floors in oflice Space

 E          Mgdtrly Thoroughly dusl furniture     Complelely sw6ep and/or vacJum        caeels. Sweep storage Space Spoi clean atlw8lls!daces within
 70 inches of th€ lloor.

 F         Fvery lwo    morlhs   Damp wip6 reskoom waslgpaper receptacles, slall partilions, doors. window sills, and     frames Shsmpoo enlrance and
 e:evalor catpels.

 6          Three times a vear. Dusl wall surfaces wdhin 70 rnches ol lhe lloor, lerlical surraces and under surfaces. Cleaa melal and   rarble   suafaces
 in   lcbbres Wel mop or scrub garages

H           lwrceavear. Wash ail inlerior and exterior windows and other glass          sufaces Slip and apply lour coats of finish lo resjlient Iloors   in
toilels. Slrip and refinish main conidors and olher heavy lramc areas

I          Annuallv Wash all lenelian b{iMs. and dusl6 monlhs hcm washing. Vao,um or dust all surteces in the Euilding more than 70 Inches frorn
lhe floor induding lighl ,lxl{ires vacuLrn all draperies In place Str:p end refinish llooG in offi@s aid secondary lobbies and co.rido.s. Shampoo
carpels n corridors and lobbies. Clean balaonies, ledges, couds, areaways, and flat roofs.

            Everv two   vea6. Shampoo carpets   rn all   otices and olherlroFpublc areas

K           Every llve v€ars. Ory clean or wash (Es appropriate) .lldraperies

L           As reouired. Prcpedy mainlan planls and lawns. Provide initial supply, installalion. ano replac€monl ol llghl bllbs. tubes. ballasls. and
staners Provide and emply exterio, ash cans and clean area of        any discarded ajgarelte   bltls.

lvl         Pesl   conlrol   Control p€sis as app,opriate. usi.'g lnt€lrtted Pest lranalemenl lechniques, as spocilied in lhe GSA Environmenlal
l"lanagemenl lnlegraled PestManagemenlTechnique Guide (E402-1001)

6.08        SELECTION OF CLEA'{ING PROOUCTS {APR 2011)

The Lessor shall make carelul selecticn ofjan;lodal cleaning produds and equipment 1,

/\.         Use products lhal are packaged ec€logicallyi

a.          U5e products and equipment considg@d environmenlally beneficial endi.r recyded products that are phosphate Iree. ,on-corros,\,€.
nonJlammable, and lully biodegradable; and,

C           Mlnimize the use of ha.Sh chemicrls aod the rcleasc of irfilalirc tumes

            NorE: ixamples     of acceplable producls may be lound al www gsa gov/p29aodlrcts

6.09       S€LECIION OF PAPER PROOUCTS (JUN 2012I

The Lessor shall setect paper and paper products le.g , reslroom lissLre and papea iowds) wilh recyded contenl conforming to EPA s CPG

6.10       SNOW REMOVAL (APR 2011)

Lessor shall provide snow remor,?l services lor lhe Govcrnmenl on all days for        whi.l, lhis Leese has designaled normal hours Lessor shall clear
paifing lols if Ue accumulatjon o, snow exceeds two inches Lessor shall clear sidewalks. walkways and other enlrances beto€ accumulalion
erceeds 1.5 ioch€s. The snow removalshalltake place nolalerlhan 5100AM, without exception. Should acclmllalion continue ttroughoul lhe day
the Lessor shall proMde such addiiional snow rcmoval services lo prelenl ecaumJlariDn grealer lhan the maximuhs specilled rn this paragraph h
addilion to snow .emoval, the Lessor shall l(eep walkways. sidewalks end parking lols free of ice duriig lhe normal hou.s. The Lessor shall remole
excess burldup of sand 6nd/o. ice melt to mrn,mEe slipprng hazards. lr lhe Auildinq entrance(s) has a noflnern exposure. lhen Lessor shall take
add{onal measuaes to proiect the safety of pedeslrians.

6   1l   MAINTENANCE AND TESTING OF SYSTEIVIS (SllvIPLlFlEDl (JUN 20121

 ihe Lesscr rs responsible for lhe tolal maintenance and r€lair ol th€ leased Premises, includin! lhe srte an'J pnvate access roads The Lessois
rnaintenance responsibilily includes infual supply and replacemenl ot all supplies, maleriels, and equipmenl necessary fo. such m3inlenance
lVarntenance, lesting. and inspeclioo of appropriale equipmenl and svstems shall be done in accordance wilh cutrent applicable codes, and inspection
cerli,icales shall be d6played as appropriale. Copies of all records in this regad shall be IoMarded to the Governmenfs designaled represenialive.
upon requ€st, al lhe Lessols exp€nse




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 6-12        MANTENANCE OF PROVIDED FINISHES (JUN 2012)

                Painl. wallcovennos iesso. shallmainlrin aiiwallcoverings and high performance paiat coatngs in'tike new" conditon tor the life of
                lhe Lease All painled surtaces. shall be re pai:rled at the Lessods expense. including the m oving and returnrng of furn ishrngs, any time
                dLrring the occupancy by lhe Governmenl ifthe pa nt is peeling or peftnanently stained exceptwhe.e damaged due io the negtrgence
                or lh€ Government. Attwork shattbe done aner n orm et wo.ki.g ioLrrs as defined etsewhere in this Lease tn addition to the toregoing



                     Lessor shall repa{nl common aaeas al leasl every lh.ee years.

           2.        Lessor si all perform cyclical repainling of lhe Space every 5 years ol occLrpancy. This cost, including the moving ard retumrng o{
           furnishngs. as wall as disassembly ard reessembly o, syslems turniture, sha I be al lhe Lessor's expense.

B          Caroe{and floorinc

                     Excepl when damaged by llre Governmenl lhe Lesso. shallrepaa trr replace flooing al any time during lhe Lease tefin when

                a.   Eacking or underlaymEnt is exposed,
                b.   There are noticlaOle varialions in suilace cobr or textuae:
                c    lt has cur,s. uptumed edges, or other nolrceable vaiations in textr r,)
                d    Ti,es are loose; 0..
                e    Tears o. tripping hazards a.e present

           2         Nolwilhstanding the foregcing, the .essor shall eplace all carpei in ttre Space every 5 yeaG with E product which meels the
           requirements in lhe 'Floor Coverings and Perifieters" paragraph in lhis Le?se

           3          Repair or replecsment shrll include th€ moung arrd relurniog of fuhrshings. including disassembly and .eassembly of sysl€ms
furniiuae, i, necessary. UJork shallbe perlormed afterthe nomalhouG as established €lsewhere in this Lease

5.13       ASAESTOS aBATEM€NT (APR 2011)

lf asbeslos abalemen( worl is lo be perlormed in lhe Space alter occr]pancy. the Lesnor shall subfiit 1o lhe Govemmenl the occup.nl salely plan and
a desGaplion of ihe ftelhods ol abatement and re-occupancy cleararce. in accodance wrlh OSHA. EPA. OOT, slate, and local regulalions and
gurdana€ al lea$ 4 weoks prior lo lhe abalemenlwotk

6_14       ONSIT€ LESSOR MANAGEMENT {APR 2011)

Thc Lessor shall provrde ar onsite Buildrng slpenntendent or a locally desrgnated refresenlalive available lo pro.nplJy respond to deliciencies. anj
rmmedialely address allemergenay Situalions

6.'1s     |DEITTIY VERTF|CATTON OF PERSONNEL {SEP 2012}

The Govemmenl reserves lhc ngh( lo veriry identities ol personnelwrlh routne pre-occupancy and/or unaccompanied acc,ess to Government space.
ihe Lessor shsll comply with lhe agency personal adenirly verification proc€dures below that implemenl Homeland S€curity Presidentjal Directjve.l2
(HSPD,l2), Office ol [tanagement and Audgel (OIVB) gurda,]ce lr-05.24. and Federal lnlo.maion Processing Slandards Publicelion (FIPS PUB)
Number 201 as amended

Thc Lessor  sha ll ,nsert thrs paragraph in all subcontracts wh€n the subcontractor is requirad to have physicalaccess to a fede.ally conrolled facility or
aacess lo a federal infomalon syslem
Lessor compliarce wilh sub-paragraphs b€low w'll sutfice io mcel lhe Lesso.l rcquiremenis under HSPOl2, O[48 M-0$24. and FIPS PUB Numbef
2C1

The Government rescrves the right to conducl background ohecks on Lessor pe.sorrel and contraclors with toutine access to Governmenl leased


Upon request, lhe Lessor wrll notfy lie Govemment wheiher lhey will use either the manuai process and submit compleled llngerprinl charls and
background rn!€sligation lorms. o! use lhe electronic process of lD venficalion, compleled th.ough the EQUIP slslem. This would be done for eactr
employee ol lhe Lessor- as well as employees of the lessois conlractors or subcontractors who will provide bujldang ot€raling seMces requfing
rouline acces"s to ihe Government's leased space for a perioo grealer tian 6 morxhs. The Governmenl may also require lhis inlormslion for the
LcJJq'J crlployEn.. rool.ollu,o or iubcontortoG who will bc cogogod lo p€rrerh srb..ticn. or .me.ge..y rep:iE i'i lhc e6v..^monl'. .F..e

lVANUAL PROCESS

      1te Lessor shall provide Fo,m FD 258. Fingerprnl Cha( (available I1o3l the Governmenl Pfinlrng Office al htlp://booislore.gpo.gov). and
      Slandard Fc|m 85P Questionnarc lc. Public Trusl Pos(ons. completed by eacl person and rolurned to lhe Lease Conhactrng Ollicer lor the
      conrracli^g officeis designaled represenlative) wilnin 30 days lrom receipl ofthe forms.

ELECTRONIC PROCESS
lhe eleclronic prccess wrll be done through lhe E-QIP system. The Lossor's conl,aclor/personnel         wll receive an email along wilh instruclions for
compleling the Ofllce ot PersonnelEleclronic Ouestionnalre (€-OlP).




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    The .orllraclol/personnel will have up lo {7) ser€n busrness days lo login and complete lf}e e-QtP fo. tha bac{ground itrveslbation.

    lhe conlraclor/pe   Iso nnel wtil beinslrucled lo accsss lhe websile. and teceive on screen anstrucijons which inctude but it;s nol limilgd to
              .           S   How lo Log tn
              .           S   How lo Answer and C.eaie New Golden euestions
              .           5   V/ha! Additionat Documents to Send
              .           S   To Prinl and Sign lv/o Signalure Forms (Certificatica Thal [,ty Arswers Are True)
              .           $   To complele the submission process press fie "Release /ReqLle:st Transmil to the Agency_ and ex;t the process
              .           S   yJhere to Send i

    The lcssor.nusl ensure prornpl rnput, and llmely recerpl ofthe lotlo/ving. lrorn ther contractor/personnet:
             (1)       Iwo i2) F Bl Fing erprinl Card s (Fo.m F 0"2 58) or one ( 1 ) c6rd prodLced by a livescan device
              (2)     Ce(ificatio That l\,{y Ans*€rs Are True
              (3)     Aulhoizalion for Release orlnrormation

    The Lessor must ensure lhe conkacltng offiaer (or the contracling offceas designated Representalive has                aI of lhe requesled documentation        to
    ensure the cornpletion ofthe investigation

    Eased on lhe inlolmation furnished the Go\€mmenl will condlcl beckground invesligalions oflhe employees. The contracting offic€rwilt advise lhe
    Lessor m wnlrng if an employee tails the investigation, aod, elfecli!'e immedlalely, thc employee will no longer be allowed to wo* or be assigar€d to
    worl ln lhe Govemments srace

    Ihroughoul lhe llfe of lhe lease, lhe Lessor shall provide lhe same data lor any nerv emptoyees, contractors, or Sqbcontractors who wllt be assigned to
    the Go\e.nmenls space ln the evenl the :essoas conlraclor or subconlractor is subsequenily replaced, lhe new contractor or subcontraclor is nol
    requared to subml anolher s€l of lhese lorns tor €mployees who rere cleared lhrorgh this process while employed by lhc form€r conlraclor or
    s!bconlraclor The Lessor shall.esubm{ Form FD 258 and Standard Fcm 85P fore\ery €mployee covered by this pe€graph on a 5 year basis.

6.16          SCHEoULE OF        PERTOOTC SERVICES        {JUN 2012)

Wlhin 60days afler occupancy by lhe Goveoment the Lessor shallprovide the LCOv,/itha detsiled wdllen Schedute ofalt m,iodjc servic€s and
maintenanceto be p€riooned other lhan daily. weekly. orrnonthly

6.17          LANOSCAPE MATNTENAfiCE {APR 2011}

Landscape maintenanae shall be perlormed durinq the growing season al nol less lhan a weekly cyde and shall consisl of walering, weeding.
mowing. and pclcing the area lo keep it free of deb.is PrLrning and ledili?ation shall be done oa an as-ne€ded basis ,n addition. dead, dying or
damaged planls shall be replaced.

6.18         INIENTIONALLYOELETED

6.19         INDOOR AIR QUALITY UUN 2012)

A.        The Lessor shall conlrol conlaminants at tne source and/or opeEle the Spa@ in such a manner thal the GSA indicator tevels for clrbon
moooioe (CO). ca.bon dioxide (CO2). and formaldehyde {HCHO) are nol exceeded The ;ndicalor levels for offce areas shall be: CO I ppm time
ureighled a!€rage (TWA 8 hour sample); CO2 1.000 ppn (nV ): HCHO 0 1 ppm (TWA).

A          The Lessor shall make a reasonable atempt to apply insedicides, paints, giues. adhesives. and HVAC syslerh cleaning cornpounds wrtl
highly volalile or irilating organic compounds. oulside of workrng hours Exc€pt in an em6rgency. lhe Lessor shall provido et least 72 trours advance
notice lo lhe Goveahment before applying noxious chem c.als ln occupled spaces and shell adequalely vontriate those spaaes dlring and after
appijcation

C            The Lessor shall piomplly investigele indocr a'r qualily (lAQ) complanls and shall implemen!               tie   necessaay conlrols to address the
complaint.

D.       The Government reserves the right 10 conduct rndependenl IAQ assessmen:s and detarled studies in Space lhat occrlptes, as well as n
space servino lhe Space (e.g , common use areas, mechafical rooras. HVAC syslems. elc.). Tho l-essor shall assls{ the Govemment in ils
assessmenls and delailed studres by:

             1           l\,4aking avarlable information on
                                                          Bu djng operalions and Lessor aclMresi
             2           Providing ac.ess lo Spa ce for assessnent and testing. if requ,r ed and
             3.          lmplem€nlrE conective measures requrred by the LCO

E         The Lessor sh.ll provrde 10 the Govemmenr malerial safely data sheels (I!ISOS) upon requesl for lhe tollow ng products pnor lo therr ,Jse
during the lerm of lhe Leas€: ad hesives ca ulk ing . seala nl s, nsllalrag rn aterials, fre rroofrng or f re s1o pping maleria ls, parnts. ca rpels, floor and ,a ll
p6tchrng o.leveling malerias lubncanls, clear fin;sh lor wood surfaces lanilorial cleanng products, pesticides, rodenticdes, and herbicides. ,he
Governrn-"ot reseNes the right lo review such producls used by ihe Lessor withrn:

             1    The Spacei
             2    Common Bu'lding areas




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              3     Ventilalion syslems and zones setumg tie leased space: afld
              {.    The apa above suspended ceilings and gngineeriog space rn the same ventilation zone as tne based space

F         Wnere hazardous gasses or chemicals (any products wifi data in tlre Bealth and Srfely section ot lhe I\,1SOS sheels) may be present or
used, :ncuCing large-scale copyiog and prlnting rooms, segregale areas wilh decklo-leck parlitions with separale outside exhaosling at a rate oi al
least   N   5 cubic feel per mioul€ per sq.   ll,   no air recirauialron, The mechanical system musl operale at a negative pressure compared w(h ihe
surroundrng spaces of at easl an averale of 5 Pa (pascal) (0.02 inches of waler gauge) and y/ith a mrnimum             of   i   Pa (0.004 rnches oi water gauge)
when the doors (O the rOOrnS are closed

6.20          RADON lN AtR (AUG 2008)

It Space planned for occrrpancy by the Government is on th€ second lloor above grade or lower, the Lessor shall. prior lo occupancv. lest lhe leased
Space for 2 days to 3 days uslng charcoal canislels or elecfel ion chambers. The Lesscr is rcsponsible lo provjde Space in which in-air )evels arc
below EPAS aclron concentration of 4 picocunes per liler. Aier the iniliai tesling. a folloyr-up test for a minimum of 90 days using alpha lrac,(
deleclors o.eled.ci ion.hambcG shallbe compleled Fortuiherinformaliononradon.golo'http:l!vww.epa.gov/radon/zonemaphtfil

6.21          RADON tN WATER (JUN 2012)

A             lf the erater source is nol tom a publ€ utility the Lessor shall demonslrat€ that waler provided to the Premises is rn compliance with EPA
requirefterls      and shall submit certfcalion lo the LCO pnor lo the Covernmenl occ!pying the Space.

B.         lf lhe EPA action levei is reacied or exceeded, rhe Lessor shall inslilule appropriate abatement .nethods which €dLrce lhe radon levels to
below lhis acfioo

6.22          IiAZARDOUS MATERIALS IOCT 1996}

The leased Space shall be iree of hazardoua fi6tedals according       1o   applicable Federal. slele, end loaal enviro.mental regulalions

6.23         MOLO (STMPLTFTEO) (SEPT 201r)

A            AclDnable lvlold is mold oltypes and conceni.alions in excess orlhat lound in lhe localouldoor air

ts         The Lessor shall provide Space lo Ihe Governmenl that is lree t om Adionable Mold and free from any conditions that reasonably can be
anlicipated lo pemii ltre growlh ofActionable i\,{old or are irrdrcative oflhe possrbrlily fiatActionable Mold will be presenl (lndicalors).

6.24        OCCUPANT EMERGENCY PLANS (ApR 20111
the L€ssor   i6 required to cooperal€. participale and comply wlth lhe developnrenl and implemenlalion o, the Govemm€nt s Occupant Emergeicy Plan
(OEPi and if necessary a supplemenlal Sheller-in Place (SlP) Plan Periodicelly. the ,3overnment fiay requesl thal lhe Lessor assisl rn reviewing and
revising lts OEP end SIP The Plan among clher lhings. must indude an annual emergency evacuation drill. emergenc-y nolifi.ation procedures o, ihe
Lessoas Euilding engineer or maoager. Buildrng secur'iy, local emergenay pe6onnel. a1d Govemmefll agency personnel




LEASE NO. VA251-13{.0027. PAGE 25                       TESSoR:   fl
                                                                  -7-      GOVERNMENT:          fT,                  GSA FORM L20'tA (10/12)
               Case 1:17-cv-00171-RHH Document 14 Filed 09/14/17 Page 34 of 45




 SECTION       7       ADDITIONAL IERMS AND CONDITIONS


1-A1        MOOITIEOPARAGRAPHS

The   foilolvn! paragraphs have been nodified        in this Requesl for Lease Proposat

            1.03   RENTAL CONSTDERATTON FOR StMpLlFlE0 LEASES (JUN 2012)
            1.05   TERMINATION RIGHIS 1SIMPLIFIEO) {JUN 2012)
            4-01   SCHEDULE FOR COMPLETTON OF SpACE (SEp 20131
            5.08   PARTITIONS: SUBDMOING (JU E 2012)
            5.15   DAIA DTSTR|BUTIO (JUNE 2012)
            5,17   ELECTRICAL. TELEPHONE, DATA FOR SYSTEMS FURNITURE (JUNE 2012)

7.02        LABOR STANDAROS (JUX 2012)

The followng FAR clauses shall apply to all wo* performed pior loihe Govgrnments acceplance of space as substantially compiele. Full texl
lersions ol lhese clsuses are available upon reques! from the CO Frr l text \,ersions are also availabte at HTTP://W[ /V.ACOUISITION GOV/FAR/

52 222-4     Conlracl Work Hou6 and Sarety Slandads Act--Overlime Compens:lroD
52.222 6     Oavs-8acon Acl
52.222 t- Withholding of Funds
52 222.8  Payrolls and Basic Rocords
52 222.9  Apprenlices anc, Irainees
          Compliance wilh Copoland Acl Requiremenls
52.222-11 Subconlracts (Labor Slandads)
52 222-12 Contract Terminalion-Debarmenl
52.22213 Compliance with Davis-Bacon ard Rslsted Act Regulalrons
52 222 14 Disputes Concening Labor Slandards
52 222 15 C€nilicalion of Eligibility

7   03      LCO ATD LEASE CONTRACTING OFFICER REFERENCE

nhere referenceC     in thrs   doftment, "LCO" shall mean 'CO and "l ease Conl.actrfig Oflicer" shall mean Conlracling Ofticer "

7,04        654 REFERENCE

U./here rel€renaed n thrs document.       f;SA ' shall   som etim es n.ean "VA.'


7.05        TENANTIMPROVEMENTS

li lenan1 improvement spcrifcalions       i. lhe Lease   differ frori lne Agency Specrfrc Requrements IASR). the ASR shalllake p.ecedenl

7   06      CONSTRUCTTON DOCUMENIS (SEP 2012)

The Lessor's CDs shell include all mechanical, eleclical. plumb,ng, fke proteclion, ll€ safely. llghling, struclural. securily. and archileclural
improvemcnls scheduied tor inclusion into h€ Space. COs shalbe annolsrcd wilh aJ appllcrb,e specircalions CDs shall also clearly idenlify Tls
zlready in plaoe andthe work lc be Con€ by Ihe Lessor or olhers Notwilhstandina lhc Governmenl's teuew of the CDs. the Lessor rs solely
responsible and liable lor lheir technical accuracy and complrance w h all applicable Lerse requiremenls




LEASE NO. VA26r-r3-L-0027, PAGE 25                        LEssoR::+- covEnweur: -             [J                  GSA FORM L20tA {10/12)
             Case 1:17-cv-00171-RHH Document 14 Filed 09/14/17 Page 35 of 45




             GENERAL SERVICES ADMINISTRATION                       LEASE AMENDMENT: P00001
                 PUBLIC BUILDINGS SERVICE                          TO LEASE NO: VA26'1-13-L-0027
                    LEASE AMENDMENT                                    DRESS OF PREI\4ISES
                                                                       N 1"' St, San Jose. CA, 951   '12


  THIS AMENDMENT is made and entered into between Scott Layne Goodsell

  whose address is: 440 N 1"( St, Suite 100, San Jose, CA 951'12
  hereinafter called the Lessor, and the UNITED STATES OF AMERICA, hereinafter called the Government:

WHEREAS, the parties hereto desire to amend lhe above Lease.       .



NOW THEREFORE, lhese parties for good and valuable consideration, the receipt and sufficiency                    of which is hereby
acknowledged, covenant and agree that the said Lease is amended, effuctive July 25. 2014 as follows:

1.       TENANT IMPROVEMENTS

A.   Notice to Proceed (NTP): This lease amendment shall serve as the Notice to Proceed with the Tenant lmprovement build
     out. All restoration righls for initial and subsequent tenant improvements and alterations are waived-

B.   Tenant lmprovemenls: The Governmenl approves the $98.000 for change order 1 listed on the attached cost proposal,
     submitled on 7/14l14, subject to space acceptanc€. The SOW ior lhe chaoge order is attached reference.

C.   Davis Bacon Waqe Rale Decision The auached Davis Bacon Wa ge Rate Decision shall be used for all conslruction
     services. General Oecision Number CA140029 0711812014 CA29

D.   Construciion Schedule: The Lessor shall deliver and compleG the Tenant lmprovement build out by the dates set rorlh on
     the masler congtruction schedule.

E    lnvoice ln st.uctions: U pon space acceptance, the Lessor shall invoice the Government for the above referenced Tenant
     lmprovements. lnvoices must be submitted with the tollowiog PO# 640-C49322, prominently displayed on the invoice. ln
     addition, each invoice musl have a distinct, unique invoice number The Lessor shall submit the invoice via email or mail
     delivery to the Contract Spec,ialist for initial approval and lhen submit to the VA Austin Payment Center, electronically.

NOTE: This modification represonts a complete equitablo adjustsnent for all costs, direct and lndlrect, associated with
the work and Ume agreed hereln, including but not limited to alt coste incurrgd for extended overtBad, supervision,
disruption or suspension of work, labor inofficiencies and this change's impact on unchanged worlc All future
alterations must be approved by th€ Contracting OfEcer prior to commoncement of worl( Costs for unapprovsd work
shall be borne by the Lesso..
This Lease Amendmenl contains 1 pages, not including atachments.

             condfions of the lease shall remain in force and effect.
AII olher terms and
lN WTNESS WHEREOF, tha parties subscribed their names as of the belorv date.

FOR THE LESSO                                                  FOR THE GOVERNME           T

Signature:                                                     Signature:
Name:                                                          Name:
Title:                                                         Title:     Contracting Officer
Entity Name:                                                   Department of Vetera n
Date:                   'X.5   )trLJ t4                        Date:
                                                                                     .)
                                                                                                           l.i

WITNESSED FOR            LESSOR BY:

Signature
Name:
Title:
Date:



                                                                                                           Leege Amendm€nt Form 1Z'12
                      Case 1:17-cv-00171-RHH Document 14 Filed 09/14/17 Page 36 of 45
                GENERAL SERVICES AO|llINISIRATION
                    PUSLIC tsUILDINGS SERVIC L                                    I   io   LEASE   No    vA261-13-L.oo27
                       LEASE AMENDMENT


    THIS A&IEFIOMANl rs made tnd er-tlered tnto betl,',eerl 3!:o& Layne Goodsell
    ,,\,hcs. adiress s: 4,i(i N 1'' Si Sui1e 100, San Jcse, CA 351 i2
    .e.9,.ailer aailed the Lessor. and t11e uNlTEo STATES or AMERIcA. hereinafter called the Gover.&enl

WHeREAS. lhe partres hereto desire to amend the above l-ease.                         .




NOW THEREFORE lhese pades for good and val{rble cons,deraion                                       tie   receipl and sutficiency ol which is hereby


1,       f   TNAIIT IMPROVIMENI           S




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         $ub$itted on   1/'l 3/1 5,   subiect to spaco acceplance the SOW lor the change order rs attac hed referense-

C        Oayi$ Sqqot Wege. nate Oeosioni The attached Davis B3.on Wage Rate Decisiofi ghallbe used rcr allconslruction
         servtces Generai Decision Nlmb€r CA150029 01/0212015 CA29

i        e SaEIMlign &!l!S!.19 The Lesscr shall detver and ccnrplete the Tenanl lniprcvement build out by the dates set fo(h on
         lhe maste. const.uchon schedule


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NOTE:   this modilicatio,r rspresents a complete eq.litable adjustment tor a,t cosis, dire6t and indir€ct. associated with
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disruption or suspension ol worl, labor rnef{iciencies and this change's impact on unchang€d work. All tulure
altc.ations musl t e approvcd t y the Contracting Offrcer prior to commenccmenl o, work. Costs Io. unapproved work
shall be bo.ne by lhe Lessor-
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Ti-irs   Lease Ao\end.ren'r conlarns                l'a!es, rot inclLd:rq allacl:nents.




FOR I HE LESSOR;                                                                FOR THE GOVFRNMENT:


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       Case 1:17-cv-00171-RHH Document 14 Filed 09/14/17 Page 37 of 45




San Jose Vet Center/ Lease No. VA 261-13-L-0027
Tl Change Order (HVAC Control Upgrades)



Scope of Work:

        Per January B, 2015, VA walkthrough, SJVC desires to have additional
thermostat controls installed in an office-by-office temperature control arrangement   -
i.e. the existing 3 control zones will be expanded to roughly 12 control zones.




       Per the accompanying change order from Conditioned Air, additional equipment
and installation costs associated with multiple new control zones will be required.

       Change Order services include any modifications to HVAC drawings, new
thermostats (up to 9), devices. and installation costs. Owner will not charge any
fees/costs beyond directly passing through Conditioned Air costs.



Flxed Price Offer:

      9 12,000 00                 (details per accompanying Conditioned Air letter)
    Case 1:17-cv-00171-RHH Document 14 Filed 09/14/17 Page 38 of 45



  CONDTTIONED
            (
              AIR ASSOCIATES
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San,Iose. CA 95,I I2
({08) 295-9555 or far ({0ll) 29-i-(r606
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         3)      ,\dd zorrc dampcrs ilnd thernr{)stat
         -l)     Stalt and trs(


         Plice of installation $12,000.00



         'l crms: i)a.vmcnl duc upon cornpletion.



         .{.ccrptc(l lJ}':                         lhtc:

         Sinccrcly,

         Salcs Representative
         Richard Read
         President
         (408) 210-03s4
                Case 1:17-cv-00171-RHH Document 14 Filed 09/14/17 Page 39 of 45
             GENERAL SERVICES ADMINISTRATIOI.I
                 PUBI.IC BUIL OINGS S ERVIC L
                    I.EASE AMENDMENT


  TH,S AM!NDMENT ts n:ad€ ar\d entered rrilo beiuteen Scott Layne Goodsell

  lfncseaCcress:s       ,1,{0 i! 1'1 St, Su,te 100, San Jose, CA 951 I2
  n"re:,':afier calred the tsssor. and the UNITED STATES OF AMERICA. hererrlafter cailed lhe Governmenl




1,       IENANTIMPROVEMENI-S




                                                                           ge Rale Decision shall be used ,or all construction




     in:provemenls i'rvorces muslbe submilted vriir he iollor'ring PCf 640-C4S32?, prominently displayed on the rnvorce ln
     acdiiro'r. eacll rilyorce irust have a drslnci, rjrique invorce number The Lesso. shall submil lhe rnvoice yia email or I:1ail
     dehv€ry io the Contraci Specralisl fOr ra|t!a1 Ap'Jaual aird tireo sl.lbmil tc the \iA A!Stin Payment Cenler, eleclrorrcaily

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alterations mugt be approved by thc Contractiog Ofricer prigr to commgncement of work, Costs for unapprovcd work
shall be bo.ne by the Lsssor.
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      Case 1:17-cv-00171-RHH Document 14 Filed 09/14/17 Page 40 of 45




San Jose Vet Center / Lease No. VA 261-13-L-O027
Tl Change Order (Electrical/Title 24 Upgrades)



Scope of Wo rle

       Effective July 1,2O14 the California Energy Commission has implemented new
energy-saving requirements for improvements to commercial buildings (over 10,000 sf).
Per the accompanying letter fronr GT Jordan Electric. additional costs associated with
new compliant electrical hardware plus Title 24 certification will be required.

        Change Order services include electrical engineering drawings and Title 24
certification costs, new LED 4'fixtures and new LED egress lights. room controllers and
occupancy sensors. Owner will absorb any additional labor costs, taxes, overhead and
electrical contractor profit charges.



Fixed Price _Offq!

      s   37,1 79.00             (details per accompanying GT Jordan invoice)
                 Case 1:17-cv-00171-RHH Document 14 Filed 09/14/17 Page 41 of 45



C. T. Jordan Electric, krc
953 Chestnut Street
San Jose, Ca 95110
                                                                                      Invoice

                                                                                Invoict #: 0001i037
                                                                                    Date: 1122i15
                                                                                Ship Via:
                                                                                       Page:     I
EillTc:                                                           Ship To:

Scott Ccrodsell                                                   Scott Goodsell
440 N. 1st Sheet                                                  .140 N. 1st Skcet
San Jose,   CA                                                    San jose, CA




                   Descrjption                                                                         ,,\morrnt   Tx

    1.)   I'rovrdc, inslall and connect (4) exterior JUNO NSBZSDCB dual function night                 $1,989.00
   light and emergency €gress iights: (4)@tri497.25 each
   2,) Purchase (55) LED Liltra-fhin 1x4 Aircraft cable suspended dimming                             $19,96s.00
   f |rtures-(55) LED@S300each, cable/instal l-(55)@563each
   3.) Room Controliers - ncw'cost                                                                     $42s0.00
   4.) Room conkoller ceiling occupancy scnsors. add cost                                              $1,9s.00
   5.) I{oom controller plrotocells for dayllght harvesting - nelv cost                                $1,500.00
   6.) Room conkoller dimmhg swjtches - add cosi                                                       s1,080.00
   7.) Occupancv sensors powcr pack for quad reccptacles - new cost                                    $1,400,00
   8.) Quad rcceptacles, 1/2 controiied, 1/2 constand hot, add cosi                                    $1,000.00
   9.) Drawings - add cost                                                                             $1,500.00
   10.) Title 24 Certihca on-newcost                                                                   szs@.00




                                                                                      !r€ight:             $0.00
                                                                                 Sales Tax:                $0.00
                                                                            'lbtal Amount:            $37,179.00
     Your Order #:      VA changc order                                   Amount Applied:                  $0.00
    Shipping Datc:                                                            Balance Due:            $37,179.00
               Terms:   Net 30
                     Case 1:17-cv-00171-RHH Document 14 Filed 09/14/17 Page 42 of 45
              GENERAL SERVICES ADMINISTRATION                                      LEASE AMENDMENT. POOOO4
                  PUBLIC AUILDINGS SERVICE                                         'IO LEASE NO VA261-13-L-0027
                     LEASE AMENDMENT
                                                                                                                                             I


  IHIS AMENDMEIIT is made and entered into b€tween Scotl Layoe Goodsell
  vihose address rs 44BN        1"'St Su{e 100 SanJose,CA95112
  :rere[ratter called ihe Lessor, and lhe UNITED STATES OF AlrERlCA, hereinatter cal,ed the Governmenl:

WHEREAS. lhe parlies hereto deslfe             1o   afiend   t,1e   above l-ease

NOW THEnEFORE, the$e prrlie: ior good and valuable s.,n$ide{alion lhe receipt aod suffici€ncy                           ol which rs    hereby
a.knolrledged covenanl nnC agree lhnt lhe said iease is emende{,, e$ecliv$ March 1 1 201 5 as follows.

1,     SPACE ACCEPTANC!

       Ihe Fremises   rs considered substantally complete and lhe Gove.nment hereby accepts lhe space and Bhall commerce rent
       rn accordance wlth the   dale ot this agreement and the renl schedule below. Acceptance shall b€ finaland binding upon the
       Governmenl with respecl b conformanc€ of the completed Tls, wilh lhe exception of items identited on a punch list
       Eene.ated as a ieslll of tne inspection. concealed condiiions. lateot delecls, or kaud. blrt shall not relieve the Lesso. ct any
       olher Lease requiremeits. tn addilion. the fcilov,/rng items shall be completed wilhio 90 calendar days o, Ltis amenCrnent.
       weather per{nrtting, after lssuance of a temporary occupancy agreement:

       A   Extefior ADA site work
       3   Exterror Park,ng slle fi0rk

       jI the l.essor e)rpecls the schcduled work to lake longer lhan 9E days, Lessor shall not,fy the Contraciing Off;cet rr 1er|lling
       ircd intorrfl the Ccnt,?cting otilce. of the revised compleiion da€ no iater than 5 calendar days before lh€ 90 calendEr day
       e\piratrot.




A1l   othe. telms and condilrons oi the lease shall remarn tn lorce and efleci,
lN 1^1TNESS WHEREOF. lhe         Balres subsc.rbed lherr names as of lh6 txrlov, dale
FOB 1HE LESSOR:                                                              FOR THE GOVERNMENT:.

Signature                                                                    Srinaturs
                                                                                                . \f,i*
a.iamei                                    6                                 Name:      John PaulNaega
Tile                         ti-wt\"rc4.                                     litle:      Contracting Ofticer
Ent{y Nanre                                                                  Deoartrnenl of Veteran Affarrs
Date                       it ,tA& l5                                        Date                 ;lttlt)

WITNESSED FOR TH

Signature
Naaae
Title:
Date.                ;ltfi,f _
                                                                                                                  Lcasc Amendmcnl   rorn 1:/r:
                Case 1:17-cv-00171-RHH Document 14 Filed 09/14/17 Page 43 of 45




2.   REVISEO RENT SCHEDULE

     "rhc fcliowrng rerl schedlle supersedes the schedule listeC on parag.aph         1   .C3 of   the lease

                                                                                                   iotal               'fo{i}l
                                        Monthly        Annual                                 [rlonthly            Annual
                       f"e11?rJ          REI!           Fenl                                   R ent               Rel]l
                                       $4 812 90     $4,812.90                               55 167.74           s5,167 74
                                       $7 460 00                                                                $88.1 1C.00


                                       57,a60.00 589,520.00             j   SO,OOO OO                           $96.120.00


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NOIE: This modification represents a complete equitable adiustmeot lor all costs, direct and indireci. associated with
the work and time agreed herein, including but not limitcd to all Gosts iocurred fo. extended overhead, supervisiofl,
disruption o. suspensaon of work, labor inefficiencios and this change's impact on unchangod work. All future
alterations must be approved by thc Cont.acting Ofricer prior lo comtnancement o, work- Costg tor unapproyed work
shall be bome by the Le3sor.




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       Case 1:17-cv-00171-RHH Document 14 Filed 09/14/17 Page 44 of 45




                                             LEASE AT/ENDMENT: POOOO5
       PUBLIC BUILDINGS SERVICE              TO LEASE NO: VA261-13-L-0027
         LEASE AMENDI\4ENT                   ADDRESS OF PREMISES:
                                             440 N 1"t St, San Jose, CA95112


THIS A[/ENDI/ENT is made and entered into between Scott Layne Goodsell

       whose address is .440 N 'l" St, Ste 100, San Jose, CA 95112
       hereinafter called the Lessor, and the UNITED STATES OF At\rERICA,
       hereinafter called the Government,

WHEREAS, the parties hereto desire to amend the above Lease

NOW THEREFORE these parties for good and valuable consideralion, the receipt and
sufficiency of which rs hereby acknowledged, covenant and agree that said Lease is
amended, effective February 8, 2016, as followsl

1,     TENANTIIVPROVEMENTS

a     NOTWITHSTANDING the provisions of Section 2.04 WAIVER OF
      RESTORATION (APR 201 1), the Government agrees to remove, at the
      Government's own expense and upon the termination of the Lease, that certain
      45'flagpole installed by Government on the Premises, and to restore that
      common area to its pre-installation condition.


FOR THE LESSOR                              FOR THE GOVERNI\i'IENT


Sign ure                                    Signature_
Name Sc          oodsell                    Name. Jerzy Brozyna
Title.          ESSCT                       Title: ContractingOfficer
                                            Department of Veteran Affairs
Dale.. 218116                               Date:
       Case 1:17-cv-00171-RHH Document 14 Filed 09/14/17 Page 45 of 45




                             CERTIFICATE OF SERVICE


      I declare under penalty of perjury that on   September 13. 2017, I served a copy of.


      DECLARATION OF SCOTT GOODSELL
      (San Jose Veterans Center Lease No. VA261-13-L-0027)


BY MAIL, OR AS OTHERWISE NOTED, by placing a true copy thereof enclosed in a
sealed envelope with the U.S. Postal Service on that same day with postage thereon fully
prepaid addressed to:


      Steven C. Hough, Trial Attorney
      Commercral Litigation Branch, Civil Division
      United States Department of Justice
      P. O. Box 480, Ben Franklin Station
      Washington, D.C. 20044




                                                         G       il
